                Case 2:20-cv-01251-SI                  Document 174-2                Filed 03/09/22              Page 1 of 67




                                                      DECLARATION
                                                       (ORCP Rule lE)


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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY

KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS

EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY."


Dated this     7n day of /11_4,c h                    ~' 20 2-1... .



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Page i of 1-Declaration                                                                                   Form 04.015
                 Case 2:20-cv-01251-SI           Document 174-2         Filed 03/09/22   Page 2 of 67



                  STATE OF OREGON                                                        INTEROFFICE MEMO
                  DEPARTMENT OF CORRECTIONS
                  Two Rivers Correctional Institution
                  82911 Beach Access Road
                  Umatilla, OR. 97882
      DATE:       May 11, 2020
      TO:         Mr. K. Jackson Assistant Superintendent of Security
      FROM:       Lieutenant J. Robinson DPSST#53456
      SUBJECT:    Possible mold in showers (Unit 2)




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            Case 2:20-cv-01251-SI           Document 174-2           Filed 03/09/22    Page 3 of 67



           STA TE OF OREGON                                                           INTEROFFICE MEMO
           DEPARTMENT OF CORRECTIONS
           Two Rivers Correctional Institution
           82911 Beach Access Road



 '
           Umatilla, OR. 97882
DATE:       May 11, 2020
TO:         Mr. K. Jackson Assistant Superintendent of Security
FROM:       Lieutenant J. Robinson DPSST#53456
SUBJECT:    Possible mold in showers (Unit 2)




  !PHOTO NUMBER: THREE                                     I IPHOTO NUMBER: FOUR




 PHOTOS TAKEN BY:    Lieutenant J. Robinson
    LOCATION         Unit2                        I TIME: I 7:50pm
     PHOTO!          Shower seat (Bottom Tier Shower)
     PHOTO2          Outside of shower (Bottom Tier Shower)
     PHOTO3          Inside of shower (Top Tier Shower)
     PHOTO4          Inside of shower (Top Tier Shower)

                             Eaton, Aaron (IM) SID#14997682 v. Eynon, et al.; 2:20-CV-1251-SI
                                                                          EATON-PROD-404
                    Case 2:20-cv-01251-SI       Document 174-2   Filed 03/09/22   Page 4 of 67




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                Case 2:20-cv-01251-SI                Document 174-2         Filed 03/09/22     Page 5 of 67



EXHIBIT                      IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF OREGON

f1 qv01 P;, 1-r Edi1t--~                                                      CASE NO.     2..~ l. o ~C.V~or 2.ft-~Z
         PLAINTIFF

     V




Two Rivers Correctional Institution
Grievance coordinator ..,.,_ E yvillJ"11
Two Rivers Correctional Institution
Physical Plant Manager Stark;
Two Rivers Correctional Institution
Physical Plant Asst. Manager Darcy;
Two Rivers Correctional Institution
Superintendent T. Blewett;
The Oregon Dept. Of Corrections.
                                                                            DECLARATION OF
         DEFENDANTS                                                     Lti v'V'1     13 r"4 sb y
         I [   aV'rj       [3e 1 sl..ey                   ,Do declare that the following is true and correct to
the best of my personal first hand knowledge and my personal belief;

         I have resided here at Two Rivers Correctional Institution (T.R.C.I.) 82911 Beach Access

Road Umatilla, OR. 97882 Phone Number (541) 922-6050 in the care and custody of O.D.O.C.

Since: 2-~ ).? •

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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY
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EVIDENCE IN COURT AND IS SUBJECT T PENALTY FOR PERJURY."                  \ ~\ \
Dated this _}j_ day of f'\e.y 2020. ~-----N--~ ::~~-;t_ _ _ _ __,,,,.....~\ ~
                   Case 2:20-cv-01251-SI            Document 174-2           Filed 03/09/22          Page 6 of 67



                                    IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF OREGON

AqvCv)             l2cd-e Et11'e,, ,                                              CASE NO.
          PLAINTIFF

      V




Two Rivers Correctional Institution
Grievance coordinator Rossi;
Two Rivers Correctional Institution
Physical Plant Manager Stark;
Two Rivers Correctional Institution
Physical Plant Asst. Manager Darcy;
                                                                                   EXHIBIT
Two Rivers Correctional Institution
Superintendent T. Blewett;
The Oregon Dept. Of Corrections.
                                                                             DECLARATION OF
           DEFENDANTS                                                        l -r:a rvy      5~ ,; f l't"/
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           I have resided here at Two Rivers Correctional Institution (T.R.C.I.) 82911 Beach Access

Road Umatilla, OR. 97882 Phone Number (541) 922-6050 in the care and custody of O.D.O.C.

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KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS
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Dated this & day of ~ 2020.
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            Case 2:20-cv-01251-SI       Document 174-2        Filed 03/09/22       Page 7 of 67
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     EXHIBIT                            DECLARATION
                                 ( ORCP Rule lE) ( 28 USC§ 1746)

I, .-~       /4 ,c- -< . /1--6 ,/'?//J/                          AIC at TRCI, do declare that:

1. I am a first person witness over the age of 18 and am competent to give account of the facts reported
within this declaration or I have actual first hand knowledge of the events that I am testifying to by
giving this statement.
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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY
KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS
EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY."

Dated this j ~ day of_/">2'------'--~~1/
                                      _ _ _ _ ____,, 2020.


                                            (Signature)   -   /., /                       /
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                                            82911 Beach Access Rd.
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                                            Umatilla, OR. 97882

PAGE 1 Of 1 DECLARATION
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                              Case~" 2:20-cv-01251-SI   Document 174-2       Filed 03/09/22      Page 8 of 67
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~Yl/) P V)        -et "''.
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                                                       DECLARATION
                                                ( ORCP Rule lE) ( 28 USC§ 1746)

             I,   ~d Jev-cJl1,(R                        ~;6S                    AIC at TRCI, do declare that:

             1. I am a first person witness over the age of 18 and am competent to give account of the facts reported


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             within this declaration or I have actual first hand knowledge of the events that I am testifying to by

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             KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS


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             EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY."

             Dated this 1Z_ day of


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                                                          82911 Beach Access Rd.
                                                          Umatilla, OR. 97882

             PAGE 1 Of 1 DECLARATION
       Case 2:20-cv-01251-SI        Document 174-2         Filed 03/09/22      Page 9 of 67




                                  MICHAEL C. WIDTE, MD
                                        PO Box 572
                                  White Salmon, WA 98672




I, Michael C. White, MD do hereby declare under penalty of perjury:
       1. I am a licensed medical doctor in the state of Oregon, with 41 years of active medical
          practice. My practice history includes 25 years of Emergency Medicine, American
          Board of Emergency Medicine certification for 30 years, Medical Director for Oregon
          Youth Authority at the North Coast (drug and alcohol) and Tillamook (sex offender)
          units for 8 years, and prior Medical Director for correctional facilities at Tillamook,
          Linn, Benton, Polk, and Columbia counties. I have also been a primary care
          physician for 17 years at Newberg Urgent Care and Medical Center, Newberg,
          Oregon. I have been the Medical Director for Hospice Care of Northwest in Salem
          and Portland, Oregon, as well as Medical Director at Chronic Pain Clinic of Portland.
          I have provided medical review for multiple legal cases and testified as an expert
          witness. Further experience is detailed in the attached Curriculum Vitae. (Attachment
          A)
       2. At the request of Mr. Aaron Eaton, Adult In Custody (AIC) at Snake River
          Correctional Institute, I have reviewed current and past literature regarding health
          effects of mold and fungus exposure, and offer my declaration in respect to this.
       3. Centers for Disease Control and Prevention (CDC) provides general information and
          recommendations concerning exposure to molds, effect on health, and remediation.
          (Att. B) Mold is caused by several types of fungus that require high humidity or
          moisture to grow. Building materials, including dry wall, wood products, ceiling
          tiles, insulation, or any cellulose containing material are prone to mold growth if they
          are damp, especially in areas such as showers, bathrooms, and areas of water leakage
          or flooding. The effect of mold growth on humans is variable, but can cause chronic
          upper respiratory symptoms such as stuffy nose, recurrent sinus infections, wheezing,
          or red and itching eyes and skin. People with allergy to mold or chronic lung disease
          such as asthma, can have intense reactions and inflammation with mold exposure.
          (Att. C) Institute of Medicine (IOM) in 2004 reported there was sufficient evidence
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   to associate indoor mold exposure with chronic upper respiratory symptoms and
   wheezing in otherwise healthy individuals, asthma exacerbation, and pneumonia in
   immune-compromised individuals. (Att. D) Some molds, such as Stachybotrys
   Chartarum (commonly called black mold) give off a gas-like toxin, which is
   associated with a variety of symptoms and conditions. (Att. E)
4. The CDC reports that there are no reliable tests available for mold related diseases
   and that specific mold identification is controversial and usually not needed. The
   presence of mold, indicated by visual discoloration or odor, and reported symptoms
   from patients exposed to the environment, should be sufficient evidence to alert
   authorities of a mold problem. (Att. F)
5. The proper responses to suspected mold/fungus related conditions should be: 1)
   eliminate or limit exposure to the offending environment, 2) clinical evaluation and
   treatment for immediate health issues, and 3) remediation of the environment
   involved to eliminate mold and dampness. Clinicians should assist their patients in
   assessing the evidence of mold exposure, contacting the responsible employer,
   landlord, or responsible persons to avoid repeat exposures. Ignoring environmental
   mold exposure places individuals in further danger for more serious health issues,
   which include fungal infections in the sinuses and lungs, and chronic lung damage.
   Clinicians should assess patients for disease with pulmonary function testing,
   imaging, and lab tests. If symptoms do not respond to initial therapy, referral to the
   appropriate specialist is warranted, such as Pulmonologist, Otolaryngologist or
   Allergist. (Att. G)
6. Remediation of the environment may involve simple cleaning with anti.fungal
   cleaners, or removal of mold contaminated materials, repair of water damage,
   improved ventilation, and humidity control. AIC 's obviously have limited influence
   to affect change in their environment, which makes the role of their clinicians even
   more critical to advocate for the AIC. My experience with ODOC has found that
   AICs' complaints are often ignored or even sanctioned. For example, if their work
   environment is potentially hazardous, they may be given the choice of not returning
   to the work area, at which time they often are disciplined or placed in isolation. The
   inmate is placed in an untenable position of choosing a potentially toxic work
Case 2:20-cv-01251-SI       Document 174-2         Filed 03/09/22     Page 11 of 67




   environment or being disciplined. In my work with AIC 's, I have experienced
   several complaints regarding mold exposure in both work and living spaces,
   specifically at Deer Ridge Correctional Facility and Snake River Correctional
   Institute.
7. It is my opinion that environmental mold/fungus exposure can be hazardous to
   vulnerable individuals, and that repeated exposure can cause serious health issues
   which can result in chronic disease and irreparable organ damage. There are
   guidelines for recognition of mold/fungus exposure, treatment, and remediation that
   are easily referenced. Neglect of the mold/fungus toxic environment can cause
   unnecessary health damage and suffering. It is critical for medical personnel to
   advocate for their patients, especially the ones who cannot easily advocate for
   themselves, so that potentially toxic exposures can be eliminated and proper
   remediation occur.
8. I declare that the above statement is true to the best of my knowledge and belief.




                                                          ~~
                                                            MicHAE~. MD
                                                            June 28, 2021
       Case 2:20-cv-01251-SI       Document 174-2       Filed 03/09/22   Page 12 of 67




                                     ATTACHMENTS




Attachment A: Curriculum Vitae, Michael White, MD.
Att. B: CDC and Prevention/Mold. https://www .cdc .£OV /mold.
Att. C: ibid.
        Schubert MS. Fungal rhinosinusitis: diagnosis and therapy. Curr Allergy Asthma Rep
        2001:1:268.
Att. D: ibid.
Att. E: https://www.mayoclinic.org/diseases-conditions/mold-allergy/symptoms-causes/
        Syc-20351519.
Att. F: US Environmental Protection Agency (EPA). A brief guide to mold, moisture, and your
        Home. EPA 402-K-02-008, reprinted September 2012.
Att. G: Hardin BD, Kelman BJ, Saxon A. Adverse human health effects associated with molds in
        the indoor environment. J Occup Environ Med 2003; 45:470.
             Case 2:20-cv-01251-SI               Document 174-2              Filed 03/09/22         Page 13 of 67




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            Case 2:20-cv-01251-SI           Document 174-2       Filed 03/09/22      Page 14 of 67


                                             DECLARATION
                                      ( ORCP Rule lE) ( 28 USC§ 1746)

I,   A~v'""PY'J Dc;lx EaTcV1                                        AlC at TRCI, do declare that:

1. I am a first person wi1ness over the age of 18 and am competent to give account of the facts reported
within this declaration or I have actual first hand knowledge of the events that I am testifying to by
giving this statement




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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY
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                                               82911 Beach Access Rd.
                                               Umatilla, OR. 97882

PAGE 1 Of 1 DECLARATION

                                                                        EXHIBIT
                        Case 2:20-cv-01251-SI                                         Document 174-2              Filed 03/09/22                   Page 15 of 67




                                                                                                                                                                     CD 488H (10-12)
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                    FACILITY NAME                             MO BEt              ;                                    PHARMACY NA


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            Case 2:20-cv-01251-SI                  Document 174-2           Filed 03/09/22             Page 16 of 67




Stamp                                             tiff Name           Stamp        Initials-'                          Staff Name
                                                  ,10s, K. DDS                                                         Kohler, J. RN

                                                Ahyat, S. RN                                                           Bevers, E. CMA

                                                Berg, D. RN

                                                Bradshaw, E RN



                                                Brosnan, C. CPHT

                                                Campos, C. RN

                                                Coleman, H. RN                                                         Paimer, T. RN

                                                Craig, W . RN                                                        .Peterson, J. RN

                                                                                                                       Peterson, P. RN

                                                Faulstich, J. RN

                                                                                                                       Rhodes, M. RN

                                                Garrett, B. RN                                                         Scott, C. RN

                                                Gettmann,.C. RtJ                                                     Shelton, C. DMD

                                                Gordanier, D. -R-N

                                                Hays, M. CPHT                                                        Vlahos, M. RN

                                                Hazen, T. RN

                                                Helfer, A. CPHT

                                               ·Henderso.a, A. RN

                                                Jemmett, S. RN .                                                     Zavala, B. RN

                                                Jergens, J. RN                                                         Zeller, 6. CP-HT

                                                Johnston, S. RN                                                        Wyfel\s, B. CMA

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   (Note Signatures updated 9/17/20- TRCI Medical Services)




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                   Case 2:20-cv-01251-SI          Document 174-2          Filed 03/09/22    Page 17 of 67

                               OREGON DEPARTMENT OF CORRECTIONS
                                            AIC COMMUNICATION FORM

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AIC Committed Name (first middle last)                                                            Housing Unit

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             Case 2:20-cv-01251-SI      Document 174-2             Filed 03/09/22   Page 18 of 67




                                        DECLARATION
                                         (ORCP Rule IE)


                                                        , do declare that:




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"I HEREBY DECLARE THAT THE ABOVE STATEJ\1ENT IS TRUE TO THE BEST OF MY

KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS

EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJ1JRY."

                .J}
Dated this   j_ day of /11t:t,,,~il,   . . ; 20 27...



                                              (Signature)




Page 1 of I-Declaration                                                         Form 04.015
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                               NON-EMERGENCY HEALTH CARE REQUEST
                              £;t,ry1               /Yq17J<,2-                5,,.C-;;;1
Name                                                 State ID#                    Housing                   Date


Medications,                                Vaccines
D I have not received my prescription       □ Hepatitis A/B                           Other Function
□ My prescription is about to expi re       □ Flu                                     □ BP check
□   My prescription is not helping          D   Pneumonia                             D Test result request
                                            D   Shingles                              D Is my appointment still scheduled?
Glasses                                     0   HIV Test
D Eye exam for glasses                      D   Hepatitis C Test                     ~     ther issues - not sick:
D Repa ir

Health Care request, issue, concern, or sickness :




We have taken the following actions in response to your health service request:

D You will be scheduled to see : OProvider           ONursing staff

D Your request has been forwarded to: OManager                O0ptometry   O Support Services     O BHS
                                     O Pharmacy Tech~ici~O~at~ health ed ~ ation ha ndout
Additional Comments :        ~          cJn      ~ ~ ~ M09~




                                                                                                     CD 1738 9/2016
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                                                            DECLARATION
                             ( ORCP Rule IE) ( 28 USC§ 1746)
                (WHISTLE BLOWER DECLARATION PLEASE PROTECT IDENTITY)

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I,     Jae.,,--r-         :;;y-
                        c m :-r
AIC at TR.CI, do declare that:
                                                   By:eir ~.                                         (PLEASE PROTECT IDENTITY)


       I am a first person witness over the age of 18 and am competent to give account of the facts
reported within this declaration or I have actual first hand knowledge of the events that I am testifying
to by giving this statement and I am under no form of duress and make this declaration on my own free
will.




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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY
J(NOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS
EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY"
                       Ml                                                               RJ,8
Dated this dJ day of                                    O;;? I

                                                                       (Sign: ture)         .
                                                                       PrintName: f<cl9eY'     V:                /Jye.,-~f .
                                                                       S.I.D. No.   I 0311'16,"
                                                                       82911 Beach Access Rd.
                                                                       Umatilla, OR. 97882


PAGE 1 Of 1 DECLARATION.
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                                                                               <Welcome




WELCOME TO ...
Health Hazards in Construction

Construction workers are exposed
to a variety of health hazards
every day. These men and women
have the potential for becoming
sick, ill and disabled for life.

Learn the health hazards on your
job and know how to protect
yourself...

Sadly, these health hazards (e.g.,
dangerous     dust . and    other
chemicals) can be unexpectedly
brought home ...

                                                     Learn how to protect your family!

This publication contains:

1. The purpose for the Occupational Safety and Health Administration (OSHA)
   and its enforcement duty under law.
2. Common health hazards found in construction.
3. An explanation of Industrial Hygiene and toxicology.
4. Important terms and definitions used in health standards and toxicology.
5. Procedures for how to anticipate, recognize, evaluate and control health
   hazards in construction.
6. Hazard communication program for contractors & the Globally Harmonized
   System for Hazard Communication.
7. Respiratory protection program for contractors.
8. Hearing conservation program for contractors.




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                                     This publication was produced by:


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support:


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     ►    David Allie (4-Safety.com)
     ►    John Dimos, MS, CIH




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 I BIOLOGICAL HEALTH                                 HAZARDS

                                                          lm12.ortant Terms:
                                                          □ Fungi (mold)
                                                          □ Histoplasmosis
                                                          □ Hantavirus
                                                          □ Blood Borne Pathogens
                                                          □ Universal Precautions
                                                          □ HIV
                                                          □ Hepatitis - HBV & HCV
                                                          □ Rabies




    Biological agents include bacteria, viruses, fungi (mold), other microorganisms
    and their associated toxins. They have the ability to adversely affect human                       fap.-
~ health in a variety of ways, ranging from relatively mild, allergi9 reactions to                     <;f
·:f serious medical conditions, even death. These organisms are widespread in the
    natural environment; they are found in air, water, soil, plants, and animals.
    Because many microbes reproduce rapidly and require minimal resources for
    survival, they are a potential danger in a wide variety of occupational settings.
                                                                    '




                                                                  Biological Hazards Example ...
                                                               Flood damaged structure - preparing
                                                              for demolition; mold invested building
                                                                and potential harborage of rodents,
                                                                                                       r~
                                                                     insects and other vermin.




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.
    Fungi (Mold) .




    Fungi (mold) are found everywhere - both indoors and outdoors all year round. The terms fungi
    and mold are often used interchangeably, but mold is actually a type of fungi. There are many
    thousands of species of mold and most if not all of the mold found indoors comes from outdoor
    sources. Mold seems likely to grow and become a problem only when there is water damage,
    high humidity, or dampness. -,.,..L .. .h,..,,.c.
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                                                                 r T ;\ _
                                                                    t)'tl-'Q"i f     •   rt
    Molds are organized into three groups according to human responses: Allergenic, Pathogenic
    and Toxigenic.


    Allergenic Molds           ~
    Allergenic molds do not usually produce life-threatening health effects and are most likely to
    affect those who are already allergic or asthmatic. The human system responses to allergenic
    molds tend to be relatively mild, depending on individual sensitivities, typically producing scratchy
    throats, eye and nose irritations and rashes.


    Pathogenic Molds

    Pathogenic molds usually produce some type of infection. They can cause serious health effects
    in persons with suppressed immune systems. Healthy people can usually resist infection by these
    organisms regardless of dose. In some cases, high exposure may cause hypersensitivity
    pneumonitis (an acute response to exposure to an organism).


    Toxigenic Molds ~

    Mycotoxins can cause serious health effects in almost anybody. These agents have toxic effects
    ranging from short-term irritation to immuno-suppression and possibly cancer. Therefore, when
    toxigenic molds are found further evaluation is recommended.


    How do Molds Affect the Body?

    Molds produce and release millions of spores small
    enough to be airborne. They can also produce toxic
    agents known as mycotoxins. Spores ~
    mycotoxins can have negative effects on human

    -
    health.   . .. . .      .

    The most common route 9f ent!Y into t~e body is
    through inhalation; mold has a characteristic smell -
    if you smell mold, you could be inhaling mold.

    Mold is generally visible; however, some of the most
    toxic mold spores are small enough to be
    considered respirable [less than 10 micrometers 1O
    P.m in ,a meter].           ti t'
                                    C\\ 'w     "i )                                            J
                                                                             10 µm            t0Oµm

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  Ten Things You Should Know About Mold


                  Potential health effects and symptoms associated with mold exposures include
                  allergic reactions, asthma, and other respiratory complaints.
                  There is no practical way to eliminate all molds and mold spores in the indoor - - --
                  environment; the way to control indoor mold growth is to control moisture.
                  If mold is a problem in your workplace, you must clean up the mold and eliminate .   "f-
                  sources of moisture.
             4. Fix the source of the water problem or leak to prevent mold growth.
                                                                         -   -
                                                                                                   +
             5. Reduce indoor humidity (to 30-60%) to decrease mold growth.
             6.   Clean and dry any damp or wet building materials and furnishings to prevent
                  mold growth.
  :1;;.}:-   7. Clean mold off hard surfaces with water and detergent, and dry completely.
•) .:        8. Absorbent materials such as ceiling tiles, that are moldy, may need to be

                  -----
                replaced.                           ~

             9. Prevent condensation on cold surfaces by adding insulation.
             10. In areas where there is a perpetual m~isture problem, do not install carpeting.



     Remember... molds can be found almost anywhere; they can
    grow on virtually any substance, providing moisture is present.




                                                          Worker exposed to fungi (mold} - wearing
                                                              personal protective equipment.




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                           Histoplasmosis
                           Histoplasmosis is an infectious disease caused by inhaling the spores of a fungus called
                           Histoplasma capsulatum (H. capsu/atum). Histoplasmosis is not contagious; it cannot be
                           transmitted from an infected_person or animal to someone else.

                           H. capsulatum is a dimorphic fungus, which means it has two forms. It is a mold in soil at ambient
                           temperatures, and after being inhaled by humans or animals, it produces a yeast phase when
                           spores undergo genetic, biochemical, and physical alterations. Spores of H. capsu/atum are oval
                           and have two sizes. Macroconidia (large spores) have diameters ranging from 8 to 15
                           micrometers (µm), and microconidia (small spores) range from 2 to 5 µmin diameter. Yeast cells
                           of H. capsulatum have oval to round shapes and diameters ranging from 1 to 5 µm.

                 11'.      Histoplasmosis primarily affects a person's lungs, and its symptoms vary greatly. The vast
                 /i        majority of infected people are asymptomatic (have no apparent ill effects), or they experience
     1
         y.,.,..f",.,      symptoms so mild they do not seek medical attention and may not even realize that their illness
             /       ,_1   was Histoplasmosis. If symptoms do occur, they will usually start within 3 to 17 days after
O                          exposure, with an average of 10 days. Histoplasmosis can appear as a mild, flu-like respiratory
_1

·    ~
         ~1J
         ',l)
             I
                           illness and has a combination of symptoms, including malaise (a general ill feeling), fever, chest
                           pain, dry or nonproductive cough, headache, loss of appetite, shortness of breath, joint and
         1       r         muscle pains, chills, and hoarseness.

                                                                                                                                Source:
                                                                                                                      N/OSH Publication
                                                                                             Histoplasmosis - Protecting Workers at Risk



                           Where are H. capsu/atum spores found?

                           H. capsulatum grows in soils throughout the world. In the
                           United States, the fungus is endemic and the proportion of
                           people infected by H. capsulatum is higher in central and
                           eastern states, especially along the Ohio and Mississippi
                           River valleys. The fungus seems to grow best in soils having
                           high nitrogen content, especially those enriched with bird
                           manure or bat droppings.

                           Construction workers who work in areas where there is the
                           accumulation of bird and/or bat droppings must be protected
                           against the harmful effects of H. capsulatum.



                           Hantavirus Pulmonary Syndrome
                           Hantavirus is a disease spread by rodents that is similar to
                           the flu. The virus is in their urine and feces, but it does not
                           make the carrier animal sick. Humans are thought to
                           become infected when they are exposed to contaminated
                           dust from mice nests or droppings.

                           The disease is not passed between humans. People
                           may encounter contaminated dust when cleaning long-
                           etnpty homes, sheds, or other enclosed areas.



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Respiratory Protection for Exposures to Fungi (Mold)

Respiratory protection for exposure to fungi (mold) will depend on the size of the particle
and its level of toxicity. Whenever you smell or see the presence of mold, it is important
to take precautions to LIMIT YOUR EXPOSURE to mold and mold spores.


                    Avoid breathing in mold or mold spores!


In order to limit your exposure to airborne mold, wear at a minimum an N-95 respirator;
for higher level of protection use a 99 or 100 (HEPA) rated filter. If oil is present in the air
then make sure to use either an R or a P designated filter.

Respiratory protection for exposure to fungi (mold) ...




 Approved Filtering Facepiece Respirator                    Half Mask, Elastomeric, Air Purifying
 (Disposable) - any combination of N, R &                  Respirator- any combination of N, R & P
      P with efficiency 95, 99 or 100.                          with efficiency 95, 99 or 100.




NIOSH Recommendation for Mold

The NIOSH mm,mum recommendatipn for
respiratory protection for workers remediating dusty
areas    contaminated with        highly infectious
Histoplasma capsulatum spores (from bird and bat
manure) is a full-facepiece respirator (APF 50).




                                                           Full Facepiece, Elastomeric, Air Purifying
                                                           Respirator- any combination of N, R & P
                                                                  with efficiency 95, 99 or 100.




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                                           DECLARATION
                                  ( ORCP Rule IE) ( 28USC § 1746)
           (WHISTLEBLO"WER DECLARATIONPLEASEPROTECTIDENTITY)

r,   At:1cet? U,,/-e          f4 f o.,,,                                         (PLEASE PROTECT IDENTITY)
AIC at TR.CI, do declare that:

       I am a first person witness over the age of 18 and am competent to give account of the facts
reported within this declaration or I have actual first hand knowledge of the events that I am testifying
to by giving this statement and I am under no form of duress and make this declaration on my own free
will.                   vosH/J #~t ~11~~ J"                                         ~J"r ~-zz. fl£.
~         5haWr:-rJ           , ·r, ' ~'1i t   lta /'   arx                2#'    fa4~      G1Hll'7-   l/ffv,l1,rlr
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                                               (Signature)             .
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       Billing Code: 4410-1

  Part 35 Nondiscrimination on the Basis of Disability in State and Local Government
  Services (as amended by the final rule published on September 15, 2010)
  Authority: 5 U.S.C. 301; 28 U.S.C. 509, 51 0; 42 U.S.C. 12134.
   Subpart A-General
  § 35.101 Purpose.

     The purpose of this pait is to effectuate subtitle A of title II of the Americans with Disabilities Act of 1990 (42 U.S. C.
     12131), which prohibits discrimination on the basis of disability by public entities.

   § 35.102 Application.

            (a) Except as provided in paragraph (b) of this section, this pait applies to all services, programs, and activities
                provided or made available by public entities.
            (b) To the extent that public transpmtation services, programs, and activities of public entities are covered by
               subtitle B of title II of the ADA, they are not subject to the requirements of this part.

  § 35.103 Relationship to other laws.

          (a) Rule of interpretation. Except as otherwise provided in this part, this part shall not be construed to apply a
              lesser standard than the standards applied under title V of the Rehabilitation Act of 1973 or the regulations
              issued by Federal agencies pursuant to that title.
          (b) Other laws. This part does not invalidate or limit the remedies, rights, and procedures of any other Federal
             laws, or State or local laws (including State common law) that provide greater or equal protection for the rights
             of individuals with disabilities or individuals associated with them.

  § 35.104 Definitions.

     For purposes of this part, the teim-

     1991 Standards means the requirements set forth in the ADA Standards for Accessible Design, originally
     published on July 26, 1991, and republished as Appendix D to 28 CFR part 36.

     2004 ADAA G means the requirements set forth in appendices Band D to 36 CFR part 1191 (2009).

     2010 Standards means the 2010 ADA Standards for Accessible Design, which consist of the 2004 ADAAG and
     the requirements contained in § 35.151.

     Act means the Americans with Disabilities Act (Pub. L. 101-336, 104 Stat. 327, 42 U.S.C. 12101-12213 and 47
     U.S.C. 225 and 611).

     Assistant Attorney General means the Assistant Attorney General, Civil Rights Division, United States Depaitment of
     Justice.

     Auxiliary aids and services includes-

          (!) Qualified interpreters on-site or through video remote interpreting (VRI) services; notetakers; real-time
              computer-aided transcription services; written materials; exchange of written notes; telephone handset
              amplifiers; assistive listening devices; assistive listening systems; telephones compatible with hearing
              aids; closed caption decoders; open and closed captioning, including real-time captioning; voice, text, and
              video-based telecommunications products and systems, including text telephones (TTYs), videophones,
              and captioned telephones, or equally effective telecommunications devices; videotext displays; accessible
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               electronic and information technology; or other effective methods of making aurally delivered
               information available to individuals who are deaf or hard of hearing;
            (2) Qualified readers; taped texts; audio recordings; Brailled materials and displays; screen reader
               software; magnification software; optical readers; secondary auditory programs (SAP); large print
                materials; accessible electronic and information technology; or other effective methods of making
               visually delivered materials available to individuals who are blind or have low vision;
         (3) Acquisition or modification of equipment or devices; and
         (4) Other similar services and actions.

     Complete complaint means a written statement that contains the complainant's name and address and describes the
     public entity's alleged discriminatory action in sufficient detail to inform the agency of the nature and date of the
     alleged violation of this pm1. It shall be signed by the complainant or by someone authmized to do so on his or her
     behalf. Complaints filed on behalf of classes or third parties shall describe or identify (by name, if possible) the
     alleged victims of discrimination.

     Current illegal use ofdrugs means illegal use of drugs that occurred recently enough to justify a reasonable belief that
     a person's drug use is current or that continuing use is a real and ongoing problem.

     Designated agency means the Federal agency designated under subpart G of this pait to oversee compliance activities
     under this part for particular components of State and local governments.

     Direct threat means a significant risk to the health or safety of others that cannot be eliminated by a
     modification of policies, practices or procedures, or by the provision of auxiliary aids or services as provided in
     §35.139.                   ~

     Disability means, with respect to an individual, a physical or mental impairment that substantially limits one or more
     of the major life activities of such individual; a record of such an impairment; or being regarded as having such an
     impairment.

         (1)
                     (i) The phrase physical or mental impairment means-~
                                  (A) Any physiological disorder or condition, cosmetic disfigurement, or anatomical loss affecting
                                     one or more of the following body systems: neurological, musculoskeletal, special sense
                             ~ organs, respiratory (including speech organs), cardiovascular, reproductive, digestive,
                             ")"\-> genitourinary, hemic and lymphatic, skin, and endocrine;
                                 (B) Any mental or psychological disorder such as mental retardation, organic brain syndrome,
                                    emotional or mental illness, and specific learning disabilities.
                     (ii) The phrase physical or mental impairment includes, but is not limited to, such contagious and
                         noncontagious diseases and conditions as orthopedic, visual, speech and hearing impairments, cerebral
                         palsy, epilepsy, muscular dystrophy, multiple sclerosis, cancer, heart disease, diabetes, mental
                         retardation, emotional illness, specific )earning disabilities, HIV disease (whether symptomatic or
                         asymptomatic), tuberculosis, drng addiction, and alcoholism.
             ~       (iii) The phrase physical or mental impairment does not include homosexuality or bisexuality.
            (2f The phrase major life activities means functions such as caring for one's self, performing manual tasks,
               walking, seeing, hearing, speaking, breathing, Jem·ning, and working.
            (3) The phrase has a record ofsuch an impairment means has a history of, or has been misclassified as having, a
               mental or physical impairment that substantially limits one or more major life activities.
         (4) The phrase is regarded as having an impairment means-
                     (i) Has a physical or mental impairment that does not substantially limit major life activities but that is
                         treated by a public entity as constituting such a limitation;


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                     (ii) Has a physical or mental impairment that substantially limits major life activities only as a result of the
                         attitudes of others toward such impairment; or
                     (iii) Has none of the impairments defined in paragraph (1) of this definition but is treated by a public
                         entity as having such an impainnent.
          (5) The tenn disability does not include-
                     (i) Transvestism, transsexualism, pedophilia, exhibitionism, voyeurism, gender identity disorders not
                         resulting from physical impairments, or other sexual behavior disorders;
                     (ii) Compulsive gambling, kleptomania, or pyromania; or
                     (iii) Psychoactive substance use disorders resulting from cunent illegal use of drugs.

     Drug means a controlled substance, as defined in schedules I through V of section 202 of the Controlled Substances
     Act (21 U.S.C. 812).

     Existing facility means a facility in existence on any given date, without regard to whether the facility may also
     be considered newly constructed or altered under this part.

     Facility means all or any portion of buildings, structures, sites, complexes, equipment, rolling stock or other
     conveyances, roads, walks, passageways, parking lots, or other real or personal property, including the site where the
     building, property, structure, or equipment is located.

     Historic preservation programs means programs conducted by a public entity that have preservation of historic
     properties as a primary purpose.

     Historic properties means those prope11ies that are listed or eligible for listing in the National Register of Historic
     Places or prope11ies designated as historic under State or local law.

     Housing at a place of education means housing operated by or on behalf of an elementary, secondary,
     undergraduate, or postgraduate school, or other place of education, including dormitories, suites, apartments,
     or other places of residence.

     Illegal use ofdrugs means the use of one or more drugs, the possession or distribution of which is unlawful under the
     Controlled Substances Act (21 U.S.C. 812). The term illegal use of drugs does not include the use of a drug taken
     under supervision by a licensed health care professional, or other uses authorized by the Controlled Substances Act or
     other provisions of Federal law.

     Individual with a disability means a person who has a disability. The term individual with a disability does not include
     an individual who is cun-ently engaging in the illegal use of drngs, when the public entity acts on the basis of such use.

     Other power-driven mobility device means any mobility device powered by batteries, fuel, or other engines-whether
     or not designed primarily for use by individuals with mobility disabilities-that is used by individuals with mobility
     disabilities for the purpose of locomotion, including golf cars, electronic personal assistance mobility devices
     (EPAMDs ), such as the Segway® PT, or any mobility device designed to operate in areas without defined pedestrian
     routes, but that is not a wheelchair within the meaning of this section. This definition does not apply to Federal
     wilderness areas; wheelchairs in such areas are defined in section 508(c)(2) of the ADA, 42 U.S.C. 12207(c)(2).

     Public entity means-

          ( I) Any State or local government;
          (2) Any depaitment, agency, special purpose district, or other instrumentality of a State or States or local
             government; and
         (3) The National Railroad Passenger Corporation, and any commuter authority (as defined in section 103(8) of the
            Rail Passenger Service Act).

     Qualified individual with a disability means an individual with a disability who, with or without reasonable
     modifications to rules, policies, or practices, the removal of architectural, communication, or transp011ation barriers,
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     or the provision of auxiliary aids and services, meets the essential eligibility requirements for the receipt of services or
     the pa1iicipation in programs or activities provided by a public entity.

     Qualified interpreter means an interpreter who, via a video remote interpreting (VRI) service or an on-site
     appearance, is able to interpret effectively, accurately, and impartially, both receptively and expressively, using
     any necessary specialized vocabulary. Qualified interpreters include, for example, sign language interpreters,
     oral transliterators, and cued-language transliterators.

     Qualified reader means a person who is able to read effectively, accurately, and impartially using any necessary
     specialized vocabulary.

     Section 504 means section 504 of the Rehabilitation Act of 1973 (Pub. L. 93-112, 87 Stat. 394 (29 U.S.C. 794), as
     amended.

     Service animal means any dog that is individually trained to do work or perform tasks for the benefit of an
     individual with a disability, including a physical, sensory, psychiatric, intellectual, or other mental disability.
     Other species of animals, whether wild or domestic, trained or untrained, are not service animals for the
     purposes of this definition. The work or tasks performed by a service animal must be directly related to the
     individual's disability. Examples of work or tasks include, but are not limited to, assisting individuals who are
     blind or have low vision with navigation and other tasks, alerting individuals who are deaf or hard of hearing
     to the presence of people or sounds, providing non-violent protection or rescue work, pulling a wheelchair,
     assisting an individual during a seizure, alerting individuals to the presence of allergens, retrieving items such
     as medicine or the telephone, providing physical support and assistance with balance and stability to
     individuals with mobility disabilities, and helping persons with psychiatric and neurological disabilities by
     preventing or interrupting impulsive or destructive behaviors. The crime deterrent effects of an animal's
     presence and the provision of emotional support, well-being, comfort, or companionship do not constitute work
     or tasks for the purposes of this definition.

     State means each of the several States, the District of Columbia, the Commonwealth of Puerto Rico, Guam, American
     Samoa, the Virgin Islands, the Trnst Tenitory of the Pacific Islands, and the Commonwealth of the Northern Mariana
     Islands.

     Video remote interpreting (VRI) service means an interpreting service that uses video conference technology
     over dedicated lines or wireless technology offering high-speed, wide-bandwidth video connection that delivers
     high-quality video images as provided in§ 35.160(d).

     Wheelchair means a manually-operated or power-driven device designed primarily for use by an individual
     with a mobility disability for the main purpose of indoor, or of both indoor and outdoor locomotion. This
     definition does not apply to Federal wilderness areas; wheelchairs in such areas are defined in section 508(c)(2)
     of the ADA, 42 U.S.C. 12207 (c)(2).

  § 35.105 Self-evaluation.

         (a) A public entity shall, within one year of the effective date of this part, evaluate its cunent services, policies, and
             practices, and the effects thereof, that do not or may not meet the requirements of this part and, to the extent
             modification of any such services, policies, and practices is required, the public entity shall proceed to make the
             necessary modifications.
            (b) A public entity shall provide an opp01iunity to interested persons, including individuals with disabilities or
               organizations representing individuals with disabilities, to participate in the self-evaluation process by
               submitting comments.
         (c) A public entity that employs 50 or more persons shall, for at least three years following completion of the self-
             evaluation, maintain on file and make available for public inspection:
                     (I) A list of the interested persons consulted;
                     (2) A description of areas examined and any problems identified; and
                     (3) A description of any modifications made.
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         (d) If a public entity has already complied with the self-evaluation requirement of a regulation implementing
            section 504 of the Rehabilitation Act of 1973, then the requirements of this section shall apply only to those
            policies and practices that were not included in the previous self- evaluation.

  § 35.106 Notice
     A public entity shall make available to applicants, participants, beneficiaries, and other interested persons information
     regarding the provisions of this part and its applicability to the services, programs, or activities of the public entity,
     and make such information available to them in such manner as the head of the entity finds necessary to apprise such
     persons of the protections against discrimination assured them by the Act and this paii.

  § 35.107 Designation of responsible employee and adoption of grievance procedures

            (a) Designation of responsible employee. A public entity that employs 50 or more persons shall designate at least
                one employee to coordinate its effotis to comply with and cany out its responsibilities under this pati, including
                any investigation of any complaint communicated to it alleging its noncompliance with this part or alleging any
                actions that would be prohibited by this part. The public entity shall make available to all interested individuals
                the name, office address, and telephone number of the employee or employees designated pursuant to this
                paragraph.
            (b) Complaint procedure. A public entity that employs 50 or more persons shall adopt and publish grievance
               procedures providing for prompt and equitable resolution of complaints alleging any action that would be
               prohibited by this part.

  §§ 35.108-35.129 [Reserved]

  Subpart B-General Requirements
  § 35.130 General prohibitions against discrimination

            (a) No qualified individual with a disability shall, on the basis of disability, be excluded from participation in or be
                denied the benefits of the services, programs, or activities of a public entity, or be subjected to discrimination by
                any public entity.
            (b)
                     (1) A public entity, in providing any aid, benefit, or service, may not, directly or through contractual,
                         licensing, or other anangements, on the basis of disability-
                                 (i) Deny a qualified individual with a disability the opportunity to participate in or benefit from
                                     the aid, benefit, or service;
                                 (ii) Afford a qualified individual with a disability an opp01iUnity to participate in or benefit from
                                     the aid, benefit, or service that is not equal to that afforded others;
                                 (iii) Provide a qualified individual with a disability with an aid, benefit, or service that is not as
                                     effective in affording equal opp01iunity to obtain the same result, to gain the same benefit, or
                                     to reach the same level of achievement as that provided to others;
                                 (iv) Provide different or separate aids, benefits, or services to individuals with disabilities or to
                                     any class of individuals with disabilities than is provided to others unless such action is
                                    necessary to provide qualified individuals with disabilities with aids, benefits, or services that
                                     are as effective as those provided to others;
                                 (v) Aid or perpetuate discrimination against a qualified individual with a disability by providing
                                    significant assistance to an agency, organization, or person that discriminates on the basis of
                                    disability in providing any aid, benefit, or service to beneficiaries of the public entity's
                                    program;
                                 (vi) Deny a qualified individual with a disability the opportunity to pa1iicipate as a member of
                                     planning or advisory boards;
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                                  (vii) Otherwise limit a qualified individual with a disability in the enjoyment of any right,
                                      privilege, advantage, or opportunity enjoyed by others receiving the aid, benefit, or service.
                  'a; (2) A public entity may not deny a qualified individual with a disability the oppo1iunity to participate in
                  "}\      services, programs, or activities that are not separate or different, despite the existence of pe1missibly
                           separate or different programs or activities.
                        (3) A public entity may not, directly or through contractual or other arrangements, utilize criteria or
                           methods of administration-
                                  (i) That have the effect of subjecting qualified individuals with disabilities to discrimination on
                                      the basis of disability;
                                  (ii) That have the purpose or effect of defeating or substantially impairing accomplishment of the
                                      objectives of the public entity's program with respect to individuals with disabilities; or
                                  (iii) That perpetuate the discrimination of another public entity if both public entities are subject
                                      to common administrative control or are agencies of the same State.
                        (4) A public entity may not, in detem1ining the site or location of a facility, make selections-
                                  (i) That have the effect of excluding individuals with disabilities from, denying them the benefits
                                      of, or otherwise subjecting them to discrimination; or
                                  (ii) That have the purpose or effect of defeating or substantially impairing the accomplishment of
                                      the objectives of the service, program, or activity with respect to individuals with disabilities.
                        (5) A public entity, in the selection of procurement contractors, may not use criteria that subject qualified
                           individuals with disabilities to discrimination on the basis of disability.
                        (6) A public entity may not administer a licensing or certification program in a manner that subjects
                           qualified individuals with disabilities to discrimination on the basis of disability, nor may a public
                           entity establish requirements for the programs or activities oflicensees or ce1tified entities that subject
                           qualified individuals with disabilities to discrimination on the basis of disability. The programs or
                           activities of entities that are licensed or cetiified by a public entity are not, themselves, covered by this
                           part.
                        (7) A public entity shall make reasonable modifications in policies, practices, or procedures when the
                           modifications are necessary to avoid discrimination on the basis of disability, unless the public entity
                           can demonstrate that making the modifications would fundamentally alter the nature of the service,
                           program, or activity.
                        (8) A public entity shall not impose or apply eligibility criteria that screen out or tend to screen out an
                           individual with a disability or any class of individuals with disabilities from fully and equally enjoying
                            any service, program, or activity, unless such criteria can be shown to be necessary for the provision of
                           the service, program, or activity being offered.
            (c) Nothing in this part prohibits a public entity from providing benefits, services, or advantages to individuals with
                disabilities, or to a particular class of individuals with disabilities beyond those required by this part.
            (d) A public entity shall administer services, programs, and activities in the most integrated setting appropriate to
               the needs of qualified individuals with disabilities.
            (e)
                        ( 1) Nothing in this part shall be construed to require an individual with a disability to accept an
                            accommodation, aid, service, opp01iunity, or benefit provided under the ADA or this part which such
                            individual chooses not to accept.
                        (2) Nothing in the Act or this part authorizes the representative or guardian of an individual with a
                            disability to decline food, water, medical treatment, or medical services for that individual.
            (f) A public entity may not place a surcharge on a particular individual with a disability or any group of individuals
                with disabilities to cover the costs of measures, such as the provision of auxiliary aids or program accessibility,


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              that are required to provide that individual or group with the nondiscriminatory treatment required by the Act or
              this part.
          (g) A public entity shall not exclude or otherwise deny equal services, programs, or activities to an individual or
             entity because of the known disability of an individual with whom the individual or entity is known to have a
             relationship or association.
          (h) A public entity may impose legitimate safety requirements necessary for the safe operation of its
             services, programs, or activities. However, the public entity must ensure that its safety requirements are
             based on actual risks, not on mere speculation, stereotypes, or generalizations about individuals with
             disabilities.

   § 35.131 Illegal use of drugs

          (a) General.
                      (1) Except as provided in paragraph (b) of this section, this pait does not prohibit discrimination against
                          an individual based on that individual's cun-ent illegal use of drugs.
                      (2) A public entity shall not discriminate on the basis of illegal use of drugs against an individual who is
                          not engaging in cutTent illegal use of drugs and who--
                                 (i) Has successfully completed a supervised drug rehabilitation program or has otherwise been
                                     rehabilitated successfully;
                                 (ii) Is paiiicipating in a supervised rehabilitation program; or
                                 (iii) Is erroneously regarded as engaging in such use.
          (b) Health and drug rehabilitation services.
                      (1) A public entity shall not deny health services, or services provided in connection with drug
                         rehabilitation, to an individual on the basis of that individual's cun-ent illegal use of drugs, if the
                          individual is otherwise entitled to such services.
                      (2) A drug rehabilitation or treatment program may deny paiticipation to individuals who engage in illegal
                         use of drugs while they are in the program.
          (c) Drug testing.
                      (1) This part does not prohibit a public entity from adopting or administering reasonable policies or
                         procedures, including but not limited to drug testing, designed to ensure that an individual who
                         formerly engaged in the illegal use of drugs is not now engaging in current illegal use of drugs.
                      (2) Nothing in paragraph (c) of this section shall be construed to encourage, prohibit, restrict, or authorize
                         the conduct of testing for the illegal use of drugs.

  § 35.132 Smoking




'§
     This part does not preclude the prohibition of, or the imposition ofrestrictions on, smoking in transpmtation covered
     by this part.

     35.133 Maintenance of accessible features*
          (a) A public entity shall maintain in operable working condition those features of facilities and equipment that are
              required to be readily accessible to and usable by persons with disabilities by the Act or this part.            f"
          (b) This section does not prohibit isolated or temporary inteITuptions in service or access due to maintenance or
             repairs.
          (c) If the 2010 Standards reduce the technical requirements or the number of required accessible elements
              below the number required by the 1991 Standards, the technical requirements or the number of


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               accessible elements in a facility subject to this part may be reduced in accordance with the requirements
               of the 2010 Standards.

  § 35.134 Retaliation or coercion

         (a) No private or public entity shall discriminate against any individual because that individual has opposed any act
             or practice made unlawful by this part, or because that individual made a charge, testified, assisted, or
             pmticipated in any manner in an investigation, proceeding, or hearing under the Act or this pa1t.
            (b) No private or public entity shall coerce, intimidate, threaten, or interfere with any individual in the exercise or
               enjoyment of, or on account of his or her having exercised or enjoyed, or on account of his or her having aided
               or encouraged any other individual in the exercise or enjoyment of, any right granted or protected by the Act or
               this patt.

  § 35.135 Personal devices and services

     This part does not require a public entity to provide to individuals with disabilities personal devices, such as
     wheelchairs; individually prescribed devices, such as prescription eyeglasses or hearing aids; readers for personal use
     or study; or services of a personal nature including assistance in eating, toileting, or dressing.

  § 35.136 Service animals

            (a) General. Generally, a public entity shall modify its policies, practices, or procedures to permit the use of
               a service animal by an individual with a disability.
            (b) Exceptions. A public entity may ask an individual with a disability to remove a service animal from the
               premises if-
                     (1) The animal is out of control and the animal's handler does not take effective action to control it;
                         or
                     (2) The animal is not housebroken.
            (c) If an animal is properly excluded. If a public entity properly excludes a service animal under§ 35.136(b),
                it shall give the individual with a disability the opportunity to participate in the service, program, or
                activity without having the service animal on the premises.
            (d) Animal under handler's control. A service animal sha)] be under the control of its handler. A service
                animal shall have a harness, leash, or other tether, unless either the handler is unable because of a
                disability to use a harness, leash, or other tether, or the use of a harness, leash, or other tether would
               interfere with the service animal's safe, effective performance of work or tasks, in which case the service
                animal must be otherwise under the handler's control (e.g., voice control, signals, or other effective
               means).
            (e) Care or supervision. A public entity is not responsible for the care or supervision of a service animal.
            (f) Inquiries. A public entity shall not ask about the nature or extent of a person's disability, but may make
                two inquiries to determine whether an animal qualifies as a service animal. A public entity may ask if the
                animal is required because of a disability and what work or task the animal has been trained to perform.
                A public entity shall not require documentation, such as proof that the animal has been certified, trained,
                or licensed as a service animal. Generally, a public entity may not make these inquiries about a service
                animal when it is readily apparent that an animal is trained to do work or perform tasks for an
                individual with a disability (e.g., the dog is observed guiding an individual who is blind or has low vision,
                pulling a person's wheelchair, or providing assistance with stability or balance to an individual with an
                observable mobility disability).
            (g) Access to areas of a public entity. Individuals with disabilities shall be permitted to be accompanied by
                their service animals in all areas of a public entity's facilities where members of the public, participants
                in services, programs or activities, or invitees, as relevant, are allowed to go.


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            (h) Surcharges. A public entity shall not ask or require an individual with a disability to pay a surcharge,
               even if people accompanied by pets are required to pay fees, or to comply with other requirements
               generally not applicable to people without pets. If a public entity normally charges individuals for the
               damage they cause, an individual with a disability may be charged for damage caused by his or her
               service animal.
            (i) Miniltture horses.
                      (1) Reasonable modifications. A public entity shaU make reasonable modifications in policies,
                          practices, or procedures to permit the use of a miniature horse by an individual with a disability
                          if the miniature horse has been individually trained to do work or perform tasks for the benefit
                          of the individual with a disability.
                      (2) Assessment factors. In determining whether reasonable modifications in policies, practices, or
                          procedures can be made to allow a miniature horse into a specific facility, a public entity shall
                          consider-
                                  (i) The type, size, and weight of the miniature horse and whether the facility can
                                      accommodate these features;
                                  (ii) Whether the handler has sufficient control of the miniature horse;
                                  (iii) Whether the miniature horse is housebroken; and
                                  (iv) Whether the miniature horse's presence in a specific facility compromises legitimate
                                     safety requirements that are necessary for safe operation.
                      (3) Other requirements. Paragraphs 35.136 (c) through (h) of this section, which apply to service
                          animals, shall also apply to miniature horses.

   § 35.137 Mobility devices.

            (a) Use of wheelchairs and manually-powered mobility aids. A public entity shall permit individuals with
               mobility disabilities to use wheelchairs and manually-powered mobility aids, such as walkers, crutches,
               canes, braces, or other similar devices designed for use by individuals with mobility disabilities in any
               areas open to pedestrian use.
          (b)
                      (1) Use of other power-driven mobility devices. A public entity shall make reasonable modifications in
                         its policies, practices, or procedures to permit the use of other power-driven mobility devices by
                         individuals with mobility disabilities, unless the public entity can demonstrate that the class of
                         other power-driven mobility devices cannot be operated in accordance with legitimate safety
                         requirements that the public entity has adopted pursuant to § 35.130(h).
                      (2) Assessment factors. In determining whether a particular other power-driven mobility device can
                          be allowed in a specific facility as a reasonable modification under paragraph (b)(l) of this
                          section, a public entity shall consider-
                                  (i) The type, size, weight, dimensions, and speed of the device;
                                  (ii) The facility's volume of pedestrian traffic (which may vary at different times of the day,
                                      week, month, or year);
                                  (iii) The facility's design and operational characteristics (e.g., whether its service, program,
                                      or activity is conducted indoors, its square footage, the density and placement of
                                      stationary devices, and the availability of storage for the device, if requested by the
                                      user);
                                  (iv) Whether legitimate safety requirements can be established to permit the safe operation
                                      of the other power-driven mobility device in the specific facility; and
                                  (v) Whether the use of the other power-driven mobility device creates a substantial risk of
                                      serious harm to the immediate environment or natural or cultural resources, or poses a
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                                     conflict with Federal land management laws and regulations.
         (c)
                     (1) Inquiry about disability. A public entity shall not ask an individual using a wheelchair or other
                         power-driven mobility device questions about the nature and extent of the individual's disability.
                     (2) Inquiry into use of other power-driven mobility device. A public entity may ask a person using an
                         other power-driven mobiJity device to provide a credible assurance that the mobility device is
                         required because of the person's disability. A public entity that permits the use of an other
                         power-driven mobility device by an individual with a mobility disability shall accept the
                         presentation of a valid, State-issued, disability parking placard or card, or other State-issued
                         proof of disability as a credible assurance that the use of the other power-driven mobility device
                         is for the individual's mobility disability. In lieu of a valid, State-issued disability parking placard
                         or card, or State-issued proof of disability, a public entity shall accept as a credible assurance a
                         verbal representation, not contradicted by observable fact, that the other power-driven mobility
                         device is being used for a mobility disability. A "valid" disability placard or card is one that is
                         presented by the individual to whom it was issued and is otherwise in compliance with the State
                         of issuance's requirements for disability placards or cards.

  § 35.138 Ticketing

            (a)
                     (1) For the purposes of this section, "accessible seating" is defined as wheelchair spaces and
                        companion seats that comply with sections 221 and 802 of the 2010 Standards along with any
                        other seats required to be offered for sale to the individual with a disability pursuant to
                         paragraph (d) of this section.
                     (2) Ticket sales. A public entity that sells 'tickets for a single event or series of events shall modify its
                        policies, practices, or procedures to ensure that individuals with disabilities have an equal
                        opportunity to purchase tickets for accessible seating-
                                 (i) During the same hours;
                                 (ii) During the same stages of ticket sales, including, but not limited to, pre-sales,
                                     promotions, lotteries, wait-lists, and general sales;
                                 (iii) Through the same methods of distribution;
                                 (iv) In the same types and numbers of ticketing sales outlets, including telephone service, in-
                                     person ticket sales at the facility, or third-party ticketing services, as other patrons; and
                                 (v) Under the same terms and conditions as other tickets sold for the same event or series of
                                     events.
            (b) Identification of available accessible seating. A public entity that sells or distributes tickets for a single
               event or series of events shall, upon inquiry-
                     (1) Inform individuals with disabilities, their companions, and third parties purchasing tickets fo r
                         accessible seating on behalf of individuals with disabilities of the locations of all unsold or
                         otherwise available accessible seating for any ticketed event or events at the facility;
                     (2) Identify and describe the features of available accessible seating in enough detail to reasonably
                         permit an individual with a disability to assess independently whether a given accessible seating
                        location meets his or her accessibility needs; and
                     (3) Provide materials, such as seating maps, plans, brochures, pricing charts, or other information,
                        that identify accessible seating and information relevant thereto with the same text or visual
                         representations as other seats, if such materials are provided to the general public.
            (c) Ticket prices. The price of tickets for accessible seating for a single event or series of events shall not be
                set higher than the price for other tickets in the same seating section for the same event or series of
                events. Tickets for accessible seating must be made available at all price levels for every event or series of
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              events. If tickets for accessible seating at a particular price level are not available because of inaccessible
              features, then the percentage of tickets for accessible seating that should have been available at that price
              level (determined by the ratio of the total number of tickets at that price level to the total number of
              tickets in the assembly area) shall be offered for purchase, at that price level, in a nearby or similar
              accessible location.
            (d) Purchasing multiple tickets.
                      (1) General. For each ticket for a wheelchair space purchased by an individual with a disability or a
                         third-party purchasing such a ticket at his or her request, a public entity shall make available for
                         purchase three additional tickets for seats in the same row that are contiguous with the
                         wheelchair space, provided that at the time of purchase there are three such seats available. A
                         public entity is not required to provide more than three contiguous seats for each wheelchair
                         space. Such seats may include wheelchair spaces.
                      (2) Insufficient additional contiguous seats available. If patrons are aJiowed to purchase at least four
                          tickets, and there are fewer than three such additional contiguous seat tickets available for
                          purchase, a public entity shall offer the next highest number of such seat tickets available for
                          purchase and shaJI make up the difference by offering tickets for sale for seats that are as close as
                          possible to the accessible seats.
                      (3) Sales limited to less than four tickets. If a public entity limits sales of tickets to fewer than four
                          seats per patron, then the public entity is only obJigated to offer as many seats to patrons with
                          disabilities, including the ticket for the wheelchair space, as it would offer to patrons without
                          disabilities.
                      (4) Maximum number of tickets patrons may purchase exceeds four. If patrons are aJiowed to
                          purchase more than four tickets, a public entity shaJI aJlow patrons with disabilities to purchase
                          up to the same number of tickets, including the ticket for the wheelchair space.
                      (5) Group sales. If a group includes one or more individuals who need to use accessible seating
                         because of a mobility disability or because their disability requires the use of the accessible
                         features that are provided in accessible seating, the group shaJI be placed in a seating area with
                         accessible seating so that, if possible, the group can sit together. If it is necessary to divide the
                         group, it should be divided so that the individuals in the group who use wheelchairs are not
                         isolated from their group.
          (e) Hold-and-release of tickets for accessible seating.
                      (1) Tickets for accessible seating may be released for sale in certain limited circumstances. A public
                         entity may release unsold tickets for accessible seating for sale to individuals without disabilities
                         for their own use for a single event or series of events only under the following circumstances-
                                 (i) When an non-accessible tickets (excluding luxury boxes, club boxes, or suites) have been
                                     sold;
                                 (ii) When all non-accessible tickets in a designated seating area have been sold and the
                                     tickets for accessible seating are being released in the same designated area; or
                                 (iii) When all non-accessible tickets in a designated price category have been sold and the
                                     tickets for accessible seating are being released within the same designated price
                                     category.
                     (2) No requirement to release accessible tickets. Nothing in this paragraph requires a facility to
                         release tickets for accessible seating to individuals without disabilities for their own use.
                     (3) Release of series-of-events tickets on a series-of-events basis.
                                 (i) Series-of-events tickets sell-out when no ownership rights are attllched. When series-of-
                                     events tickets are sold out and a public entity releases and sells accessible seating to
                                     individuals without disabilities for a series of events, the public entity shall establish a
                                     process that prevents the automatic reassignment of the accessible seating to such ticket
                                     holders for future seasons, future years, or future series so that individuals with

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                                     disabilities who require the features of accessible seating and who become newly eligible
                                     to purchase tickets when these series-of-events tickets are available for purchase have an
                                     opportunity to do so.
                                 (ii) Series-of-events tickets when ownership rights are attached. When series-of-events tickets
                                     with an ownership right in accessible seating areas are forfeited or otherwise returned to
                                     a public entity, the public entity shall make reasonable modifications in its policies,
                                     practices, or procedures to afford individuals with mobility disabilities or individuals
                                     with disabilities that require the features of accessible seating an opportunity to purchase
                                     such tickets in accessible seating areas.
         (t) Ticket transfer. Individuals with disabilities who hold tickets for accessible seating shall be permitted to
             transfer tickets to third parties under the same terms and conditions and to the same extent as other
             spectators holding the same type of tickets, whether they are for a single event or series of events.
            (g) Secondary ticket market.
                     (1) A public entity shall modify its policies, practices, or procedures to ensure that an individual
                        with a disability may use a ticket acquired in the secondary ticket market under the same terms
                         and conditions as other individuals who hold a ticket acquired in the secondary ticket market for
                         the same event or series of events.
                     (2) If an individual with a disability acquires a ticket or series of tickets to an inaccessible seat
                        through the secondary market, a public entity shall make reasonable modifications to its policies,
                         practices, or procedures to allow the individual to exchange bis ticket for one to an accessible seat
                        in a comparable location if accessible seating is vacant at the time the individual presents the
                        ticket to the public entity.
            (h) Prevention offraud in purchase of tickets for accessible seating. A public entity may not require proof of
               disability, including, for example, a doctor's note, before selling tickets for accessible seating.
                     (1) Single-event tickets. For the sale of single-event tickets, it is permissible to inquire whether the
                         individual purchasing the tickets for accessible seating has a mobility disability or a disability
                         that requires the use of the accessible features that are provided in accessible seating, or is
                         purchasing the tickets for an individual who has a mobility disability or a disability that requires
                         the use of the accessible features that are provided in the accessible seating.
                     (2) Series-of-events tickets. For series-of-events tickets, it is permissible to ask the individual
                         purchasing the tickets for accessible seating to attest in writing that the accessible seating is for a
                         person who has a mobility disability or a disability that requires the use of the accessible features
                        that are provided in the accessible seating.
                     (3) Investigation offraud. A public entity may investigate the potential misuse of accessible seating
                        where there is good cause to believe that such seating has been purchased fraudulently.

  § 35.139 Direct threat.

            (a) This part does not require a public entity to permit an individual to participate in or benefit from the
                services, programs, or activities of that public entity when that individual poses a direct threat to the
                health or safety of others.
            (b) In determining whether an individual poses a direct threat to the health or safety of others, a public
               entity must make an individualized assessment, based on reasonable judgment that relies on current
               medical knowledge or on the best available objective evidence, to ascertain: the nature, duration, and
               severity of the risk; the probability that the potential injury will actually occur; and whether reasonable
               modifications of policies, practices, or procedures or the provision of auxiliary aids or services will
               mitigate the risk.

  Subpart C-Employment

  § 35.140 Employment discrimination prohibited

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          (a) No qualified individual with a disability shall, on the ba~is of disability, be subjected to discrimination in
              employment under any service, program, or activity conducted by a public entity.
          (b)
                      (I) For purposes of this pa1t, the requirements of title I of the Act, as established by the regulations of the
                         Equal Employment Oppmtunity Commission in 29 CFR patt 1630, apply to employment in any
                          service, program, or activity conducted by a public entity if that public entity is also subject to the
                         jurisdiction of title I.
                      (2) For the purposes of this pa1t, the requirements of section 504 of the Rehabilitation Act of 1973, as
                         established by the regulations of the Department of Justice in 28 CFR patt 4 I, as those requirements
                         pe1tain to employment, apply to employment in any service, program, or activity conducted by a public
                          entity if that public entity is not also subject to the jurisdiction of title I.

  §§ 35.141-35.148 [Reserved]

  Subpart D-Program Accessibility
   § 35.149 Discrimination prohibited.

      Except as otherwise provided in§ 35.150, no qualified individual with a disability shall, because a public entity's
~ facilities are inaccessible to or unusable by individuals with disabilities, be excluded from patticipation in, or be
W denied the benefits of the services, programs, or activities of a public entity, or be subjected to discrimination by any
      public entity.

   § 35.150 Existing facilities

            (a) General. A public entity shall operate each service, program, or activity so that the service, program, or
                activity, when viewed in its entirety, is readily accessible to and usable by individuals with disabilities. This
                paragraph does not-
                      (1) Necessarily require a public entity to make each of its existing facilities accessible to and usable by
                          individuals with disabilities;
                      (2) Require a public entity to take any action that would threaten or destroy the historic significance of an
                         historic property; or                             ·
                      (3) Require a public entity to take any action that it can demonstrate would result in a fundamental
                          alteration in the nature of a service, program, or activity or in undue financial and administrative
                         burdens. In those circumstances where personnel of the public entity believe that the proposed action
                         would fundamentally alter the service, program, or activity or would result in undue financial and
                         administrative burdens, a public entity has the burden of proving that compliance with §35.150(a) of
                         this part would result in such alteration or burdens. The decision that compliance would result in such
                         alteration or burdens must be made by the head of a public entity or his or her designee after
                         considering all resources available for use in the funding and operation of the service, program, or
                         activity, and must be accompanied by a written statement of the reasons for reaching that conclusion. If
                         an action would result in such an alteration or such burdens, a public entity shall take any other action
                         that would not result in such an alteration or such burdens but would nevertheless ensure that
                         individuals with disabilities receive the benefits or services provided by the public entity.
          (b) Methods.
                     (I) General. A public entity may comply with the requirements of this section through such means as
                        redesign or acquisition of equipment, reassignment of services to accessible buildings, assigriment of
                        aides to beneficiaries, home visits, delivery of services at alternate accessible sites, alteration of
                        existing facilities and construction of new facilities, use of accessible rolling stock or other
                        conveyances, or any other methods that result in making its services, programs, or activities readily
                        accessible to and usable by individuals with disabilities. A public entity is not required to make
                        structural changes in existing facilities where other methods are effective in achieving compliance with

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                            this section. A public entity, in making alterations to existing buildings, shall meet the accessibility
                            requirements of§ 35.151. In choosing among available methods for meeting the requirements of this
                            section, a public entity shall give priority to those methods that offer services, programs, and activities
                            to qualified individuals with disabilities in the most integrated setting appropriate.
                      (2)
                                  (i) Safe harbor. Elements that have not been altered in existing facilities on or after March
                                      15, 2012, and that comply with the corresponding technical and scoping specifications
                                      for those elements in either the 1991 Standards or in the Uniform Federal Accessibility
                                      Standards (UFAS), Appendix A to 41 CFR part 101-19.6 (July 1, 2002 ed.), 49 FR 31528,
                                      app. A (Aug. 7, 1984) are not required to be modified in order to comply with the
                                      requirements set forth in the 2010 Standards.
                                  (ii) The safe harbor provided in§ 35.150(b)(2)(i) does not apply to those elements in existing
                                      facilities that are subject to supplemental requirements (le., elements for which there are
                                      neither technical nor scoping specifications in the 1991 Standards). Elements in the 2010
                                      Standards not eligible for the element-by-element safe harbor are identified as follows-
                                             (A) Residential facilities dwelling units, sections 233 and 809.
                                             (B) Amusement rides, sections 234 and 1002; 206.2.9; 216.12.
                                             (C) Recreational boating facilities, sections 235 and 1003; 206.2.10.
                                             (D) Exercise machines and equipment, sections 236 and 1004; 206.2.13.
                                             (E) Fishing piers and platjo,-ms, sections 237 and 1005; 206.2.14.
                                             (F) Golffacilities, sections 238 and 1006; 206.2.15.
                                             (G) Miniature golffacilities, sections 239 and 1007; 206.2.16.
                                             (H) Play areas, sections 240 and 1008; 206.2.17.
                                             (I) Saunas and steam rooms, sections 241 and 612.
                                             (J) Swimming pools, wading pools, ancl spas, sections 242 and 1009.
                                             (K) Shooting facilities with firing positions, sections 243 and 1010.
                                             (L) Miscellaneous.
                                                         .(1)_ Team or player seating, section 221.2.1.4.
                                                         {2)_Accessible route to bowling lanes, section. 206.2.11 .
                                                         .(J)_Accessible route in court sports facilities, section 206.2.12.
                      (3) Historic preservation programs. In meeting the requirements of§ 35.IS0(a) in histmic preservation
                          programs, a public entity shall give priority to methods that provide physical access to individuals with
                          disabilities. In cases where a physical alteration to an historic property is not required because of
                          paragraph (a)(2) or (a)(3) of this section, alternative methods of achieving program accessibility
                          include-
                                  (i) Using audio-visual materials and devices to depict those portions of an historic property that
                                      cannot otherwise be made accessible;
                                  (ii) Assigning persons to guide individuals with handicaps into or through portions of historic
                                      prope1iies that cannot otherwise be made accessible; or
                                  (iii) Adopting other innovative methods.
            (c) Time p eriod for compliance. Where structural changes in facilities are unde1iaken to comply with the
                obligations established under this section, such changes shall be made within three years of January 26, 1992,
                but in any event as expeditiously as possible.
            ( d) Trans ition plan .
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                     (1) In the event that structural changes to facilities will be undertaken to achieve program accessibility, a
                        public entity that employs 50 or more persons shall develop, within six months of January 26, 1992, a
                        transition plan setting forth the steps necessary to complete such changes. A public entity shall provide
                         an opportunity to interested persons, including individuals with disabilities or organizations
                        representing individuals with disabilities, to participate in the development of the transition plan by
                        submitting comments. A copy of the transition plan shall be made available for public inspection.
                      (2) If a public entity has responsibility or authority over streets, roads, or walkways, its transition plan
                          shall include a schedule for providing curb ramps or other sloped areas where pedestrian walks cross
                          curbs, giving priority to walkways serving entities covered by the Act, including State and local
                          government offices and facilities, transp011ation, places of public accommodation, and employers,
                         followed by walkways serving other areas.
                      (3) The plan shall, at a minimum-
                                 (i) Identify physical obstacles in the public entity's facilities that limit the accessibility of its
                                     programs or activities to individuals with disabilities;
                                 (ii) Describe in detail the methods that will be used to make the facilities accessible;
                                 (iii) Specify the schedule for taking the steps necessary to achieve compliance with this section
                                     and, if the time period of the transition plan is longer than one year, identify steps that will be
                                     taken during each year of the transition period; and
                                 (iv) Indicate the official responsible for implementation of the plan.
                      (4) If a public entity has already complied with the transition plan requirement of a Federal agency
                         regulation implementing section 504 of the Rehabilitation Act of 1973, then the requirements of this
                         paragraph (d) shall apply only to those policies and practices that were not included in the previous
                         transition plan.

  § 35.151 New construction and alterations

          (a) Design and construction.
                     ( 1) Each facility or part of a facility constructed by, on behalf of, or for the use of a public entity shall be
                       - designed and constructed in such manner that the facility or part of the facility is readily accessible to
                         and usable by individuals with disabilities, if the construction was commenced after January 26, 1992.
                     (2) Exception for structural impracticability.
                                 (i) Full compliance with the requirements of this section is not required where a public
                                     entity can demonstrate that it is structurally impracticable to meet the requirements.
                                     Full compliance will be considered structurally impracticable only in those rare
                                     circumstances when the unique characteristics of terrain prevent the incorporation of
                                     accessibility features.
                                 (ii) If full compliance with this section would be structurally impracticable, compliance with
                                     this section is required to the extent that it is not structurally impracticable. In that case,
                                     any portion of the facility that can be made accessible shall be made accessible to the
                                     extent that it is not structurally impracticable.
                                 (iii) If providing accessibility in conformance with this section to individuals with certain
                                     disabilities (e.g., those who use wheekhairs) would be structurally impracticable,
                                     accessibility shall nonetheless be ensured to persons with other types of disabilities, (e.g.,
                                     those who use crutches or who have sight, hearing, or mental impairments) in
                                     accordance with this section.
         (b) Alterations.
                     ( 1) Each facility or part of a facility altered by, on behalf of, or for the use of a public entity in a manner
                         that affects or could affect the usability of the facility or part of the facility shall, to the maximum


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                           extent feasible, be altered in such manner that the altered portion of the facility is readily accessible to
                           and usable by individuals with disabilities, if the alteration was commenced after January 26, 1992.
                     (2) The path of travel requirements of§ 35.151(b)(4) shall apply only to alterations undertaken
                        solely for purposes other than to meet the program accessibility requirements of§ 35.150.
                     (3)
                                 (i) Alterations to historic properties shall comply, to the maximum extent feasible, with the
                                    provisions applicable to historic properties in the design standards specified in §
                                    35.lSl(c).
                                 (ii) If it is not feasible to provide physical access to an historic property in a manner that
                                     will not threaten or destroy the historic significance of the building or facility, alternative
                                     methods of access shall be provided pursuant to the requirements of§ 35.150.
                     (4) Path of travel. An alteration that affects or could affect the usability of or access to an area of a
                        facility that contains a primary function shall be made so as to ensure that, to the maximum
                         extent feasible, the path of travel to the altered area and the restrooms, telephones, and drinking
                         fountains serving the altered area are readily accessible to and usable by individuals with
                         disabilities, including individuals who use wheelchairs, unless the cost and scope of such
                         alterations is disproportionate to the cost of the overall alteration.
                                 (i) Prima,y function. A "primary function" is a major activity for which the facility is
                                     intended. Areas that contain a primary function include, but are not limited to, the
                                     dining area of a cafeteria, the meeting rooms in a conference center, as well as offices and
                                     other work areas in which the activities of the public entity using the facility are carried
                                     out.
                                            (A) Mechanical rooms, boiler rooms, supply storage rooms, employee lounges or
                                               locker rooms, janitorial closets, entrances, and corridors are not areas
                                               containing a primary function. Restrooms are not areas containing a primary
                                               function unless the provision of restrooms is a primary purpose of the area, e.g.,
                                               in highway rest stops.
                                            (B) For the purposes of this section, alterations to windows, hardware, controls,
                                               electrical outlets, and signage shall not be deemed to be alterations that affect
                                               the usability of or access to an area containing a primary function.
                                 (ii) A "path of travel" includes a continuous, unobstructed way of pedestrian passage by
                                     means of which the altered area may be approached, entered, and exited, and which
                                     connects the altered area with an exterior approach (including sidewalks, streets, and
                                     parking areas), an entrance to the facility, and other parts of the facility.
                                            (A) An accessible path of travel may consist of walks and sidewalks, curb ramps
                                               and other interior or exterior pedestrian ramps; clear floor paths through
                                               lobbies, corridors, rooms, and other improved areas; parking access aisles;
                                               elevators and lifts; or a combination of these elements.
                                            (B) For the purposes of this section, the term "path of travel" also includes the
                                               restrooms, telephones, and drinking fountains serving the altered area.
                                            (C) Safe harbor. If a public entity has constructed or altered required elements of a
                                                path of travel in accordance with the specifications in either the 1991 Standards
                                                or the Uniform Federal Accessibility Standards before March 15, 2012, the
                                                public entity is not required to retrofit such elements to reflect incremental
                                                changes in the 2010 Standards solely because of an alteration to a primary
                                                function area served by that path of travel.
                                 (iii) Disproportionality.
                                            (A) Alterations made to provide an accessible path of travel to the altered area will
                                               be deemed disproportionate to the overall alteration when the cost exceeds 20 %

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                                                of the cost of the alteration to the primary function area.
                                            (B) Costs that may be counted as expenditures required to provide an accessible
                                               path of travel may include:
                                                       (1) Costs associated with providing an accessible entrance and an accessible
                                                           route to the altered area, for example, the cost of widening doorways or
                                                           installing ramps;
                                                       (2) Costs associated with making restrooms accessible, such as installing
                                                           grab bars, enlarging toilet stalls, insulating pipes, or installing accessible
                                                          faucet controls;
                                                       (3) Costs associated with providing accessible telephones, such as relocating
                                                          the telephone to an accessible height, installing amplification devices, or
                                                           installing a text telephone (TTY); and
                                                       (4) Costs associated with relocating an inaccessible drinking fountain.
                                (iv) Duty to provide accessible features in the event of disproportio11ality.
                                            (A) When the cost of alterations necessary to make the path of travel to the altered
                                               area fully accessible is disproportionate to the cost of the overall alteration, the
                                               path of travel shall be made accessible to the extent that it can be made
                                               accessible without incurring disproportionate costs.
                                            (B) In choosing which accessible elements to provide, priority should be given to
                                               those elements that will provide the greatest access, in the following order-
                                                       (1) An accessible entrance;
                                                       (2) An accessible route to the altered area;
                                                       (3) At least one accessible restroom for each sex or a single unisex
                                                           restroom;
                                                       (4) Accessible telephones;
                                                       (5) Accessible drinking fountains; and
                                                       (6) When possible, additional accessible elements such as parking, storage,
                                                           and alarms.
                                (v) Series of smaller alterations.
                                            (A) The obligation to provide an accessible path of travel may not be evaded by
                                               performing a series of small alterations to the area served by a single path of
                                               travel if those alterations could have been performed as a single undertaking.
                                            (B)
                                                       (1) If an area containing a primary function has been altered without
                                                           providing an accessible path of travel to that area, and subsequent
                                                           alterations of that area, or a different area on the same path of travel,
                                                           are undertaken within three years of the original alteration, the total
                                                           cost of alterations to the primary function areas on that path of travel
                                                           during the preceding three-year period shall be considered in
                                                           determining whether the cost of making that path of travel accessible is
                                                           disproportionate.
                                                       (2) Only alterations undertaken on or after March 15, 2011 shall be
                                                           considered in determining if the cost of providing an accessible path of
                                                          travel is disproportionate to the overall cost of the alterations.
         (c) Accessibility standards and compliance date.


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                    (1) If physical construction or alterations commence after July 26, 1992, but prior to September 15,
                       2010, then new construction and alterations subject to this section must comply with either the
                        UFAS or the 1991 Standards except that the elevator exemption contained at section 4.1.3(5) and
                       section 4.l.6(1)(k) of the 1991 Standards shall not apply. Departures from particular
                        requirements of either standard by the use of other methods shall be permitted when it is clearly
                        evident that equivalent access to the facility or part of the facility is thereby provided.
                     (2) If physical construction or alterations commence on or after September 15, 2010, and before
                        March 15, 2012, then new construction and alterations subject to this section may comply with
                         one of the following: the 2010 Standards, UFAS, or the 1991 Standards except that the elevator
                         exemption contained at section 4.1.3(5) and section 4.l.6(1)(k) of the 1991 Standards shall not
                         apply. Departures from particular requirements of either standard by the use of other methods
                         shall be permitted when it is clearly evident that equivalent access to the facility or part of the
                         facility is thereby provided.
                     (3) If physical construction or alterations commence on or after March 15, 2012, then new
                         construction and alterations subject to this section shall comply with the 2010 Standards.
                     (4) For the purposes of this section, ceremonial groundbreaking or razing of structures prior to site
                        preparation do not commence physical construction or alterations.
                     (5) Noncomplying new construction and alterations.
                                (i) Newly constructed or altered facilities or elements covered by§§ 35.151(a) or (b) that
                                    were constructed or altered before March 15, 2012, and that do not comply with the 1991
                                    Standards or with UFAS shall before March 15, 2012, be made accessible in accordance
                                    with either the 1991 Standards, UFAS, or the 2010 Standards.
                                (ii) Newly constructed or altered facilities or elements covered by§§ 35.151(a) or (b) that
                                    are constructed or altered on or after March 15, 2012, and that do not comply with the
                                    1991 Standards or with UFAS shall, on or after March 15, 2012, be made accessible in
                                    accordance with the 2010 Standards.

                                                              Appendix to§ 35.151(c)
                                                                                 Applicable Standards
                                                                         991 Standards or UFAS
                nor after September 15, 2010, and before March 15, 2012 1991 Standards, UFAS, or 2010 Standards
                nor after March 15, 2012
                                                                         010 Standards

            (d) Scope of coverage. The 1991 Standards and the 2010 Standards apply to fixed or built-in elements of
               buildings, structures, site improvements, and pedestrian routes or vehicular ways located on a site.
               Unless specifically stated otherwise, the advisory notes, appendix notes, and figures contained in the 1991
               Standards and the 2010 Standards explain or illustrate the requirements of the rule; they do not establish
               enforceable requirements.
            (e) Social service center establishments. Group homes, halfway houses, shelters, or similar social service
                center establishments that provide either temporary sleeping accommodations or residential dwelling
                units that are subject to this section shall comply with the provisions of the 2010 Standards applicable to
                residential facilities, including, but not limited to, the provisions in sections 233 and 809.
                     (1) In sleeping rooms with more than 25 beds covered by this section, a minimum of 5% of the beds
                        shall have clear floor space complying with section 806.2.3 of the 2010 Standards.
                     (2) Facilities with more than 50 beds covered by this section that provide common use bathing
                        facilities, shall provide at least one roll-in shower with a seat that complies with the relevant
                         provisions of section 608 of the 2010 Standards. Transfer-type showers are not permitted in lieu
                         of a roll-in shower with a seat, and the exceptions in sections 608.3 and 608.4 for residential


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                         dwelling units are not permitted. When separate shower facilities are provided for men and for
                         women, at least one roll-in shower shall be provided for each group.
          (f) Housing at a place of education. Housing at a place of education that is subject to this section shall comply
              with the provisions of the 2010 Standards applicable to transient lodging, including, but not limited to,
              the requirements for transient lodging guest rooms in sections 224 and 806 subject to the following
              exceptions. For the purposes of the application of this section, the term "sleeping room" is intended to be
              used interchangeably with the term "guest room" as it is used in the transient lodging standards.
                     (1) Kitchens within housing units containing accessible sleeping rooms with mobility features
                         (including suites and clustered sleeping rooms) or on floors containing accessible sleeping rooms
                        with mobility features shall provide turning spaces that comply with section 809.2.2 of the 2010
                        Standards and kitchen work surfaces that comply with section 804.3 of the 2010 Standards.
                     (2) Multi-bedroom housing units containing accessible sleeping rooms with mobility features shall
                        have an accessible route throughout the unit in accordance with section 809.2 of the 2010
                         Standards.
                     (3) Apartments or townhouse facilities that are provided by or on behalf of a place of education,
                        which are leased on a year-round basis exclusively to graduate students or faculty, and do not
                         contain any public use or common use areas available for educational programming, are not
                        subject to the transient lodging standards and shall comply with the requirements for residential
                        facilities in sections 233 and 809 of the 2010 Standards.
            (g) Assembly areas. Assembly areas subject to this section shall comply with the provisions of the 2010
                Standards applicable to assembly areas, including, but not limited to, sections 221 and 802. In addition,
                assembly areas shall ensure that-
                     (1) In stadiums, arenas, and grandstands, wheelchair spaces and companion seats are dispersed to
                         all levels that include seating served by an accessible route;
                     (2) Assembly areas that are required to horizontally disperse wheelchair spaces and companion
                        seats by section 221.2.3.1 of the 2010 Standards and have seating encircling, in whole or in part, a
                        field of play or performance area shall disperse wheelchair spaces and companion seats around
                         that field of play or performance area;
                     (3) Wheelchair spaces and companion seats are not located on (or obstructed by) temporary
                         platforms or other movable structures, except that when an entire seating section is placed on
                        temporary platforms or other movable structures in an area where fixed seating is not provided,
                        in order to increase seating for an event, wheelchair spaces and companion seats may be placed
                        in that section. When wheelchair spaces and companion seats are not required to accommodate
                         persons eligible for those spaces and seats, individual, removable seats may be placed in those
                        spaces and seats;
                     (4) Stadium-style movie theaters shall locate wheelchair spaces and companion seats on a riser or
                         cross-aisle in the stadium section that satisfies at least one of the following criteria-
                                 (i) It is located within the rear 60% of the seats provided in an auditorium; or
                                 (ii) It is located within the area of an auditorium in which the vertical viewing angles (as
                                     measured to the top of the screen) are from the 40th to the 100th percentile of vertical
                                     viewing angles for all seats as ranked from the seats in the first row (1st percentile) to
                                     seats in the back row (100th percentile).
            (h) Medical care facilities. Medical care facilities that are subject to this section shall comply with the
               provisions of the 2010 Standards applicable to medical care facilities, including, but not limited to,
               sections 223 and 805. In addition, medical care facilities that do not specialize in the treatment of
               conditions that affect mobility shall disperse the accessible patient bedrooms required by section 223.2.1
               of the 2010 Standards in a manner that is proportionate by type of medical specialty.
         (i) Curb ramps.



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                     (I) Newly constructed or altered streets, roads, and highways must contain curb ramps or other sloped
                         areas at any intersection having curbs or other barriers to entry from a street level pedestrian walkway.
                     (2) Newly constrncted or altered street level pedestrian walkways must contain curb ramps or other sloped
                         areas at intersections to streets, roads, or highways.
         U) Facilities with residential dwelling units for sale to individual owners.
                     (1) Residential dwelling units designed and constructed or altered by public entities that will be
                         offered for sale to individuals shall comply with the requirements for residential facilities in the
                        2010 Standards including sections 233 and 809.
                     (2) The requirements of paragraph (1) also apply to housing programs that are operated by public
                        entities where design and construction of particular residential dwelling units take place only
                        after a specific buyer has been identified. In such programs, the covered entity must provide the
                         units that comply with the requirements for accessible features to those pre-identified buyers
                        with disabilities who have requested such a unit.
            (k) Detention and correctional facilities.
                     (1) New construction of jails, prisons, and other detention and correctional facilities shall comply
                        with the 2010 Standards except that public entities shall provide accessible mobility features
                         complying with section 807.2 of the 2010 Standards for a minimum of 3%, but no fewer than
                         one, of the total number of cells in a facility. Cells with mobility features shall be provided in
                         each classification level.
                     (2) Alterations to detention and correctional facilities. Alterations to jails, prisons, and other
                         detention and correctional facilities shall comply with the 2010 Standards except that public
                         entities shall provide accessible mobility features complying with section 807.2 of the 2010
                         Standards for a minimum of3%, but no fewer than one, of the total number of cells being
                         altered until at least 3%, but no fewer than one, of the total number of cells in a facility shall
                         provide mobility features complying with section 807.2. Altered cells with mobility features shall
                         be provided in each classification level. However, when alterations are made to specific cells,
                         detention and correctional facility operators may satisfy their obligation to provide the required
                         number- of cells with mobility features by providing the required mobility features in substitute
                         cells (cells other than those where alterations are originally planned), provided that each
                         substitute cell-
                                 (i) Is located within the same prison site;
                                 (ii) ls integrated with other cells to the maximum extent feasible;
                                 (iii) Has, at a minimum, equal physical access as the altered ceJls to areas used by inmates
                                     or detainees for visitation, dining, recreation, educational programs, medical services,
                                     work programs, religious services, and participation in other programs that the facility
                                     offers to inmates or detainees; and,
                                 (iv) If it is technically infeasible to locate a substitute cell within the same prison site, a
                                     substitute cell must be provided at another prison site within the corrections system.
                     (3) With respect to medical and long-term care facilities in jails, prisons, and other detention and
                         correctional facilities, public entities shall apply the 2010 Standards technical and scoping
                         requirements for those facilities irrespective of whether those facilities are licensed.

  § 35.152 Jails, detention and correctional facilities, and community correctional facilities.

  ~         (a) General. This section applies to public entities that are responsible for the operation or management of
               adult and juvenile justice jails, detention and correctional facilities, and community correctional
               facilities, either directly or through contractual, licensing, or other arrangements with public or private
               entities, in whole or in part, including private correctional facilities.
            (b) Discrimination prohibited.

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                      (1) Public entities shall ensure that qualified inmates or detainees with disabilities shall not, because
                          a facility is inaccessible to or unusable by individuals with disabilities, be excluded from
                          participation in, or be denied the benefits of, the services, programs, or activities of a public
                          entity, or be subjected to discrimination by any public entity.
                      (2) Public entities shall ensure that inmates or detainees with disabilities are housed in the most
                          integrated setting appropriate to the needs of the individuals. Unless it is appropriate to make an
                          exception, a public entity-
                           i      (i) Shall not place inmates or detainees with disabilities in inappropriate security
                                     _classifications because no accessible cells or beds are available;                  J.
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                                  (ii) Shall not place inmates or detainees with disabilities m designated medical areas unless
                                      they are actually receiving medical care or treatment;
                                  (iii) Shall not place inmates or detainees with disabilities in facilities that do not offer the
                                      same programs as the facilities where they would otherwise be housed; and


                      c~,"        (iv) Shall not deprive inmates or detainees with disabilities of visitation with family
                                   ~     mb;.;-!,!z !1.Ja ~ them in dis!:V facilities where they would not otherwise be housed.
                      (3) Public entities shall implement ~ sonf ble ~cies, including physical modifications to
                          additional cells in accordance with the 2010 Standards, so as to ensure that each inmate with a
                          disability is housed in a cell with the accessible elements necessary to afford the inmate access to
                         safe, appropriate housing.

  §§ 35.153-35 .159 [Reserved]

  Subpart E-Communications

  § 35.160 General.

            (a)
                      (1) A public entity shall take appropriate steps to ensure that communications with applicants,
                         paiiicipants, members of the public, and companions with disabilities are as effective as
                          communications with others.
                      (2) For purposes of this section, "companion" means a family member, friend, or associate of an
                         individual seeking access to a service, program, or activity of a public entity, who, along with
                         such individual, is an appropriate person with whom the public entity should communicate.
            (b)
                      (1) A public entity shall furnish appropriate auxiliary aids and services where necessary to afford qualified
                          individuals with disabilities, including applicants, participants, companions, and members of the
                          public, an equal oppmiunity to participate in, and enjoy the benefits of, a service, program, or activity
                         of a public entity.
                      (2) The type of auxiliary aid or service necessary to ensure effective communication will vary in
                          accordance with the method of communication used by the individual; the nature, length, and
                          complexity of the communication involved; and the context in which the communication is taking
                         place. In determining what types of auxiliary aids and services are necessaiy, a public entity shall give
                         primaiy consideration to the requests of individuals with disabilities. In order to be effective,
                         auxiliary aids and services must be provided in accessible formats, in a timely manner, and in
                         such a way as to protect the privacy and independence of the individual with a disability.
          (c)
                      (1) A public entity shall not require an individual with a disability to bring another individual to
                          interpret for him or her.


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                     (2) A public entity shall not rely on an adult accompanying an individual with a disability to
                         interpret or facilitate communication except-
                                 (i) In an emergency involving an imminent threat to the safety or welfare of an individual or
                                     the public where there is no interpreter available; or
                                 (ii) Where the individual with a disability specifically requests that the accompanying adult
                                     interpret or facilitate communication, the accompanying adult agrees to provide such
                                     assistance, and reliance on that adult for such assistance is appropriate under the
                                     circumstances.
                     (3) A public entity shall not rely on a minor child to interpret or facilitate communication, except in
                         an emergency involving an imminent threat to the safety or welfare of an individual or the public
                        where there is no interpreter available.
            (d) Video remote interpreting (VRI) services. A public entity that chooses to provide qualified interpreters via
               VRI services shall ensure that it provides-
                     (1) Real-time, full-motion video and audio over a dedicated high-speed, wide-bandwidth video
                         connection or wireless connection that delivers high-quality video images that do not produce
                         lags, choppy, blurry, or grainy images, or irregular pauses in communication;
                     (2) A sharply delineated image that is large enough to display the interpreter's face, arms, hands,
                         and fingers, and the participating individual's face, arms, hands, and fingers, regardless of his or
                        her body position;
                     (3) A clear, audible transmission of voices; and
                     (4) Adequate training to users of the technology and other involved individuals so that they may
                         quickly and efficiently set up and operate the VRI.

  § 35.161 Telecommunications.

            (a) Where a public entity communicates by telephone with applicants and beneficiaries, text telephones (TTYs) or
                equally effective telecommunications systems shall be used to communicate with individuals who are deaf or
                hard of hearing or have speech impairments.
            (b) When a public entity uses an automated-attendant system, including, but not limited to, voice mail and
               messaging, or an interactive voice response system, for receiving and directing incoming telephone calls,
               that system must provide effective real-time communication with individuals using auxiliary aids and
               services, including TTYs and all forms of FCC-approved telecommunications relay system, including
               Internet-based relay systems.
            (c) A public entity shall respond to telephone calls from a telecommunications relay service established
                under title IV of the ADA in the same manner that it responds to other telephone calls.

  § 35.162 Telephone emergency services

     Telephone emergency services, including 911 services, shall provide direct access to individuals who use TDD's and
     computer modems.

  § 35.163 Information and signage

            (a) A public entity shall ensure that interested persons, including persons with impaired vision or hearing, can
                obtain information as to the existence and location of accessible services, activities, and facilities.
            (b) A public entity shall provide signage at all inaccessible entrances to each of its facilities, directing users to an
               accessible entrance or to a location at which they can obtain information about accessible facilities. The
                international symbol for accessibility shall be used at each accessible entrance of a facility.

  § 35.164 Duties

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     This subpart does not require a public entity to take any action that it can demonstrate would result in a fundamental
     alteration in the nature of a service, program, or activity or in undue financial and administrative burdens. In those
     circumstances where personnel of the public entity believe that the proposed action would fundamentally alter the
     service, program, or activity or would result in undue financial and administrative burdens, a public entity has the
     burden of proving that compliance with this subpart would result in such alteration or burdens. The decision that
     compliance would result in such alteration or burdens must be made by the head of the public entity or his or her
     designee after considering all resources available for use in the funding and operation of the service, program, or
     activity and must be accompanied by a written statement of the reasons for reaching that conclusion. If an action
     required to comply with this subpart would result in such an alteration or such burdens, a public entity shall take any
     other action that would not result in such an alteration or such burdens but would neve1iheless ensure that, to the
     maximum extent possible, individuals with disabilities receive the benefits or services provided by the public entity.

  §§ 35.165-35.169 [Reserved]

  Subpart F-Compliance Procedures
  § 35.170 Complaints

            (a) Who may file. An individual who believes that he or she or a specific class of individuals has been subjected to
                discrimination on the basis of disability by a public entity may, by himself or herself or by an authorized
                representative, file a complaint under this part.
            (b) Time for filing. A complaint must be filed not later than 180 days from the date of the alleged discrimination,
               unless the time for filing is extended by the designated agency for good cause shown. A complaint is deemed to
               be filed under this section on the date it is first filed with any Federal agency.
            (c) Where to file. An individual may file a complaint with any agency that he or she believes to be the appropriate
                agency designated under subpart G of this part, or with any agency that provides funding to the public entity
               that is the subject of the complaint, or with the Depa11ment of Justice for refen-al as provided in §35.171 (a)(2).

  § 35.171 Acceptance of complaints

            (a) Receipt of complaints.
                      (1)
                                 (i) Any Federal agency that receives a complaint of discrimination on the basis of disability by a
                                     public entity shall promptly review the complaint to determine whether it has jurisdiction over
                                     the complaint under section 504.
                                 (ii) If the agency does not have section 504 jurisdiction, it shall promptly determine whether it is
                                     the designated agency under subpart G of this part responsible for complaints filed against that
                                     public entity.
                     (2)
                                 (i) If an agency other than the Depmiment of Justice determines that it does not have section 504
                                     jurisdiction and is not the designated agency, it shall promptly refer the complaint to the
                                     appropriate designated agency, the agency that bas section 504 jurisdiction, or the
                                     Department of Justice, and so notify the complainant.
                                 (ii) When the Department of Justice receives a complaint for which it does not have jurisdiction
                                     under section 504 and is not the designated agency, it may exercise jurisdiction pursuant to
                                     § 35.190(e) or refer the complaint to an agency that does have jurisdiction under section 504
                                     or to the appropriate agency designated in subpa11 G of this part or, in the case of an
                                     employment complaint that is also subject to title I of the Act, to the Equal Employment
                                     Opportunity Commission.
                     (3)


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                                 (i) If the agency that receives a complaint has section 504 jurisdiction, it shall process the
                                     complaint according to its procedures for enforcing section 504.
                                 (ii) If the agency that receives a complaint does not have section 504 jurisdiction, but is the
                                     designated agency, it shall process the complaint according to the procedures established by
                                     this subpart.
         (b) Employment complaints.
                     (1) If a complaint alleges employment discrimination subject to title I of the Act, and the agency has
                        section 504 jurisdiction, the agency shall follow the procedures issued by the Depmiment of Justice
                         and the Equal Employment Opportunity Commission under section 107(b) of the Act.
                     (2) If a complaint alleges employment discrimination subject to title I of the Act, and the designated
                         agency does not have section 504 jurisdiction, the agency shall refer the complaint to the Equal
                         Employment Opportunity Commission for processing under title I of the Act.
                     (3) Complaints alleging employment discrimination subject to this part, but not to title I of the Act shall be
                        processed in accordance with the procedures established by this subpart.
         (c) Complete complaints.
                     ( 1) A designated agency shall accept all complete complaints under this section and shall promptly notify
                         the complainant and the public entity of the receipt and acceptance of the complaint.
                     (2) If the designated agency receives a complaint that is not complete, it shall notify the complainant and
                         specify the additional information that is needed to make the complaint a complete complaint. If the
                         complainant fails to complete the complaint, the designated agency shall close the complaint without
                         prejudice.

  § 35.172 Investigations and compliance reviews.

            (a) The designated agency shall investigate complaints for which it is responsible under§ 35.171.
            (b) The designated agency may conduct compliance reviews of public entities in order to ascertain whether
               there has been a failure to comply with the nondiscrimination requirements of this part.
            (c) Where appropriate, the designated agency shall attempt informal resolution of any matter being
                investigated under this section, and, if resolution is not achieved and a violation is found, issue to the
                public entity and the complainant, if any, a Letter of Findings that shall incJude-             ·
                     (1) Findings of fact and conclusions of law;
                     (2) A description of a remedy for each violation found (including compensatory damages where
                         appropriate); and
                     (3) Notice of the rights and procedures available under paragraph (d) of this section and§§ 35.173
                        and 35.174.
            (d) At any time, the complainant may file a private suit pursuant to section 203 of the Act, 42 U.S.C. 12133,
               whether or not the designated agency finds a violation.

  § 35.173 Voluntary compliance agreements

         (a) When the designated agency issues a noncompliance Letter of Findings, the designated agency shall-
                     (1) Notify the Assistant Attorney General by forwarding a copy of the Letter of Findings to the Assistant
                        Attorney General; and
                     (2) Initiate negotiations with the public entity to secure compliance by voluntary means.
         (b) Where the designated agency is able to secure voluntary compliance, the voluntary compliance agreement shall

                     ( 1) Be in writing and signed by the paiiies;
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                      (2) Address each cited violation;
                      (3) Specify the conective or remedial action to be taken, within a stated period of time, to come into
                         compliance;
                      (4) Provide assurance that discrimination will not recur; and
                      ( 5) Provide for enforcement by the Attorney General.

  § 35.17 4 Referral.

      If the public entity declines to enter into voluntary compliance negotiations or if negotiations are unsuccessful, the
      designated agency shall refer the matter to the Attorney General with a recommendation for appropriate action.

   § 35.175 Attorney's fees.

      In any action or administrative proceeding commenced pursuant to the Act or this part, the court or agency, in its
      discretion, may allow the prevailing party, other than the United States, a reasonable attorney's fee, including litigation
      expenses, and costs, and the United States shall be liable for the foregoing the same as a private individual.

   § 35.176 Alternative means of dispute resolution.

      Where appropriate and to the extent authmized by law, the use of alternative means of dispute resolution, including
      settlement negotiations, conciliation, facilitation, mediation, factfinding, minitrials, and arbitration, is encouraged to
      resolve disputes arising under the Act and this part.

   § 35.177 Effect of unavailability of technical assistance.

      A public entity shall not be excused from compliance with the requirements of this part because of any failure to
      receive technical assistance, including any failure in the development or dissemination of any technical assistance
      manual authorized by the Act.

  § 35.178 State immunity.

     A State shall not be immune under the eleventh amendment to the Constitution of the United States from an action in
     Federal or State court of competent jurisdiction for a violation of this Act. In any action against a State for a violation
     of the requirements of this Act, remedies (including remedies both at law and in equity) are available for such a
     violation to the same extent as such remedies are available for such a violation in an action against any public or
     private entity other than a State.

  §§ 35.179-35.189 [Reserved]

  Subpart G-Designated Agencies
  § 35.190 Designated Agencies.

          (a) The Assistant Attorney General shall coordinate the compliance activities of Federal agencies with respect to
              State and local government components, and shall provide policy guidance and interpretations to designated
              agencies to ensure the consistent and effective implementation of the requirements of this part.
          (b) The Federal agencies listed in paragraph (b)(l)-(8) of this section shall have responsibility for the
             implementation of subpart F of this part for components of State and local governments that exercise
             responsibilities, regulate, or administer services, programs, or activities in the following functional areas.
                     (1) Department ofAgriculture: All programs, services, and regulatory activities relating to farming and the
                        raising oflivestock, including extension services.
                     (2) Department ofEducation: All programs, services, and regulatory activities relating to the operation of
                        elementary and secondary education systems and institutions, institutions of higher education and
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                         vocational education (other than schools of medicine, dentist1y, nursing, and other health-related
                         schools), and libraries.
                     (3) Department of Health and Human Services: All programs, services, and regulato1y activities relating
                        to the provision of health care and social services, including schools of medicine, dentist1y, nursing,
                         and other health-related schools, the operation of health care and social service providers and
                         institutions, including "grass-roots" and community services organizations and programs, and
                        preschool and daycare programs.
                     (4) Department of Housing and Urban Development: All programs, services, and regulatmy activities
                        relating to state and local public housing, and housing assistance and refenal.
                     (5) Department ofInterior: All programs, services, and regulatmy activities relating to lands and natural
                        resources, including parks and recreation, water and waste management, environmental protection,
                         energy, historic and cultural preservation, and museums.
                     (6) Department ofJustice : All programs, services, and regulatory activities relating to law enforcement,
                        public safety, and the administration of justice, including courts and conectional institutions;
                         commerce and industry, including general economic development, banking and finance, consumer
                        protection, insurance, and small business; planning, development, and regulation (unless assigned to
                         other designated agencies); state and local government support services (e.g., audit, personnel,
                         comptroller, administrative services); all other government functions not assigned to other designated
                         agencies.
                     (7) Department ofLabor: All programs, services, and regulat01y activities relating to labor and the work
                        force.
                     (8) Department of Transportation: All programs, services, and regulat01y activities relating to
                        transp01iation, including highways, public transportation, traffic management (non-law enforcement),
                        automobile licensing and inspection, and driver licensing.
            (c) Responsibility for the implementation of subpart F of this part for components of State or local governments
                that exercise responsibilities, regulate, or administer services, programs, or activities relating to functions not
                assigned to specific designated agencies by paragraph (b) of this section may be assigned to other specific
                agencies by the Department of Justice.
         ( d) If two or more agencies have apparent responsibility over a complaint, the Assistant Attorney General shall
              determine which one of the agencies shall be the designated agency for purposes of that complaint.
            (e) When the Department receives a complaint directed to the Attorney General alleging a violation of this
                part that may fall within the jurisdiction of a designated agency or another Federal agency that may have
                jurisdiction under section 504, the Department may exercise its discretion to retain the complaint for
                investigation under this part.

  §§ 35.191-35.999 [Reserved]




                                                      ADA Home Pag~ I Regulation Home Pag~


     last updated, Februaiy 3, 2012




https://www.ada.gov/regs2010/titlel 1_201 0/titlell_2010_withbold.htm                                                               26/26
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                                               DECLARATION
                                                (ORCP Rule lE)


                                                                , do declare that:



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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY

KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS

EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY."


Dated this   tj 1'1t day of fl.4,1,"t~                ,20 ~     .




                                                          (Signature)

                                                          Print Name:     .ft e:V-?>14      1)41 h: /;q[ot)
                                                          S.I.D. No.            I 'f 1°176lr2




Page 1 of I-Declaration                                                                          Form 04.015
            Case 2:20-cv-01251-SI        Document 174-2                Filed 03/09/22     Page 59 of 67




                                         DECLARATION
                                          (ORCP Rule IE)


       I,   /f.g./'1:)1        ~ /1 fu [ ~ ,do declare that:
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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY

KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS

EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY."


Dated this 2 7 day of     O('. f,.            ; 20 '-- I .


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                                                 (Signature)

                                                 Print Name:    IJvi/tJi-,        t,14   fl    [ ~ j &~7
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Page 1 of 1-Declaration                                                                 Form 04.015
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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF OREGON

    tt} q rov,     P-1 !z:   Ett1'-'.'1 ,                                    CASE NO. z,~ 2-a- c.v-01ift~f.t.
            PLAINTIFF

       V




Two Rivers Correctional Institution
Grievance coordinator Rossi;
Two Rivers Correctional Institution
Physical Plant Manager Stark;
Two Rivers Correctional Institution
Physical Plant Asst. Manager Darcy;
Two Rivers Correctional Institution
Superintendent T. Blewett;
                                                                              'EXHIBIT
The Oregon Dept. Of Corrections.
                                                                        DECLARATION OF
            DEFENDANTS                                                 li A V:OV\ Qq,J:t        CqUf4
            I   /1 ~11"ti-V> /2~ 1-t        £ et Tqi ,Do declare that the following is true and correct to
the best of my personal first hand knowledge and my personal belief;

            I have resided here at Two Rivers Correctional Institution (T.R.C.I.) 82911 Beach Access

Road Umatilla, OR. 97882 Phone Number (541) 922-6050 in the care and custody of O.D.O.C.

Since:- - -

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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY                        1/>"
KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS                         ~
EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY."                                     5("'-,.
Datedthis ~ dayof J',_.t) 2020.                                   ./ 4J~ V~
                                                                        ~                           ':J.
         Case 2:20-cv-01251-SI        Document 174-2       Filed 03/09/22    Page 61 of 67



                                       DECLARATION
                                ( ORCP Rule IE) ( 28 USC§ 1746)



I. I am a first pe on witness over the ag f 18 and am competent to give account of the facts reported
within this declaration or I have actual first hand knowledge of the events that I am testifying to by
giving this statem nt.
        ~




"I HEREBY ECLARE T       THE ABOVE STATEMENT IS TR      TO THE BEST OF MY
KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT rs MADE FOR USE AS
EVIDENCE IN COURT AND rs SUBJECT TO PENALTY FOR PERJURY."




                                           82911 Beach Access Rd.
                                           Umatilla, OR. 97882

PAGE I Of I DECLARATION
                                                                 EXHIBIT
                Case 2:20-cv-01251-SI              Document 174-2               Filed 03/09/22                Page 62 of 67



                                                     DECLARATION
                             ( ORCP Rule IE) ( 28 USC§ 1746)
                (WHISTLE BLOWER DECLARATION PLEASE PROTECT IDENTITY)

I,   Q,J?.., f -;;;,;,,,.,,.., ~ ,,,5                                               (PLEASE PROTECT IDENTITY)
AICatTRGI, dodeclare that:                     ~

       I am a first person witness over the age of 18 and am competent to give account of the facts
reported within this declaration or I have actual first hand knowledge of the events that I am testifying
to by giving tlris statement and I am under no form of duress and make this declaration on my own free
will.




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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS 1RUE TO THE BEST OF MY
KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS
EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY."

Dated this       31 ,rday of    0--e Le        h,e,..
                                                          (Sign:    e)      .
                                                          Print Name: l~be✓        t -        J



                                                          S.I.D. No. /0 3/     6£  l:t
                                                          82911 Beach Access Rd.
                                                          Umatilla, OR 97882


PAGE 1 Ofl DECLARATION .
           Case 2:20-cv-01251-SI         Document 174-2               Filed 03/09/22        Page 63 of 67



                                          DECLARATION
                         ( ORCP Rule IE) ( 28 USC§ 1746)
            (WHISTLE BLOWER DECLARATION PLEASE PROTECT IDENTITY)

I, A a co II)          Vs h:
AIC at TRCL do declare that:
                                   £gton                                  (PLEASE PROTECT IDENTITY)


       I am a first person witness over the age of 18 and am competent to give account of the facts
reported within this declaration or I have actual first hand knowledge of the events that I am testifying
to by giving this statement and I am under no form of duress and make this declaration on my own free
will.
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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS 1RUE TO THE BEST OF MY
KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS
EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY"

Dated this lfL
            day of       Jh.c 'y
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                                               (Signature)        .
                                               Print Name:       /lqv-ov, DtZlx             f3B fan
                                               S.I.D. No.          1ye,9Jl,J2_
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PAGE I Of I DECLARATION .
     Case 2:20-cv-01251-SI           Document 174-2           Filed 03/09/22   Page 64 of 67




                                            DECLARATION
                                             (ORCP Rule lE)


       I,    8 t:ilv 6'b,   0/4 )-e {a 1C) "7         , do declare that:

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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY

KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS

EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY."


Dated this   _J_ day of d!??Vzt"1~-- , 20~            .




                                                  A~Pde ~
                                                (Signature)

                                                    /i ~ I~ 'J '17/2,;lr
                                                Print Name:
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                                                                          (c;&h
                                                                     V"P·".1
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                                              DECLARATION
                                               (ORCP Rule IE)


         I,   Aai0Pt1       IJ" h £4101/1                  , do declare that:




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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY

KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS

EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY."


Dated this    j_ day of      /VJ av t l,         ,20 2 2



                                                   _AMrta Vttl
                                                   (Signature)
                                                                                         £i;;S
                                                   Print Name: - - - - - - - - - - - -
                                                   S. I. D. No. - - - - - - - - - - - - -




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                                                       DECLARATION
                                                        (ORCP Rule lE)


            I,   ftqvan               V-ibr.     f_ri, ;;,'1              , do declare that:




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"I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY

KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS

EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY."


Dated this        ;)3 day of ~U,                             , 20 27 .


                                                                 ,At41q                  1).Jc ~
                                                                 (Signature)

                                                                 PrintName:
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                                                                                       t YJI q7 /.h




Page I of I-Declaration                                                                                 Form 04.015
         Case 2:20-cv-01251-SI        Document 174-2        Filed 03/09/22             Page 67 of 67




                                 CERTIFICATE OF SERVICE

c ASE NAME=         E 1PM
                        //j                          v.    Fy   I/Jc;;~"""'   "'   r   4 ,.

CASE NUMBER: (ifknown)            ~ .'J.c, ·- CV- 612-t; / ·SJ.
        COMESNOW,        nqv-p-,,. Pul-c.       £ 41~           ,andcertifiesthefollowing:

That I am incarcerated by the Oregon Department of Corrections at --"7_·~f._-~
                                                                             C_,        ~t_____
       That on the CJ Tli. day of' ~ ,w-~ ~         , 20 2.Z... , I personally placed in the
Correctional Institution' s mailing service A TRUE COPY of the following:




      I placed the above in a securely enclosed, postage prepaid envelope, to the person(s)
named at the places addressed below:




                                             tSignature)
                                             PrintName     /)C}/,tYI,- f4-lh
                                             S.I.D. No.:            -l '-J 4 { 7 6 >---,_




Page 1 of 1 -Certificate of Service                                                    Form 03.015
